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                                EXHIBIT 7




                                                                 Appx. 00405
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                                 INTERNATIONAL CENTRE FOR DISPUTE RESOLUTION
                                           International Arbitration Tribunal



REDEEMER COMMITTEE OF THE
HIGHLAND CRUSADER FUND,

                                        Claimant,

v.                                                                     Case No. 01-16-0002-6927

HIGHLAND CAPITAL MANAGEMENT, L.P.,

                                        Respondent.


                                                        PARTIAL FINAL AWARD


      WE, THE UNDERSIGNED ARBITRATORS, having been designated in accordance with Section 9.03
of the Joint Plan of Distribution, and the Scheme of Arrangement, both entered into between the above-
named parties and adopted in July 2011, and having been duly sworn, and having duly heard the proofs and
allegations of the parties, do hereby, AWARD, as follows:


I.        Introduction
          A.     The Parties
                 1.     Claimant is a Committee of Redeemers in the Highland Crusader Fund (the
                 “Committee”). Pursuant to the Joint Plan of Distribution of the Crusader Funds (“the Plan”)
                 and the Scheme of Arrangement between Highland Crusader Fund and its Scheme Creditors
                 (“the Scheme”)1, HC300, the Committee was elected from among the investors in the
                 Crusader Fund to oversee the management of the Crusader Fund by Highland Capital
                 Management, L.P. (Highland Capital). The Plan and the Scheme are the governing
                 documents which contain the arbitration agreements giving rise to this arbitration. The
                 Committee is represented by Terri Mascherin, Andrew Vail, and Shaun Van Horn of Jenner
                 & Block LLP.

                    2.     Respondent, or Highland, is an investment manager and, until July 2016, served as
                    such for the Highland Crusader Funds (“Crusader Funds” or the “Funds”) that were formed
                    between 2000 and 2002. The Funds consisted of one “Onshore Fund” and two “Offshore
                    Funds,” and the capital that was raised through these entities was pooled into a “Master

1The Plan was implemented with respect to Highland Crusader Offshore Funds by a “Scheme of Arrangement” (“Scheme”) sanctioned by the Supreme Court of
Bermuda. The Scheme incorporates the Plan and, unless otherwise noted, the Plan and Scheme contain effectively identical provisions. Unless the context
requires otherwise, we will refer primarily to the Plan.


                                                                 1




                                                                                                                                   Appx. 00406
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                     Fund.” The capital was invested primarily in “undervalued senior secured loans and other
                     securities of financially troubled firms” among other asset types. HC-17, at HC-117.00102.
                     Highland is represented by Gary Cruciani, Travis DeArmand, Michael Fritz of McKool
                     Smith, LLP.

          B.         The Arbitrators
                     1.     The three arbitrators, whose appointment was formalized by the International Center
                     for Dispute Resolution (“ICDR”), a division of the American Arbitration Association
                     (“AAA”), were David M. Brodsky, Chair, John S. Martin, Jr., and Michael D. Young.

II.       Background of the Dispute
          A.    The 2008 Financial Crisis
                1.     From 2000 until 2007, the Crusader Funds had double-digit annual returns, but in
                September and October 2008, as the financial markets in the United States began to fail,
                Highland Capital was flooded with redemption requests from Crusader Fund investors, as the
                Crusader Funds’ assets lost significant value.

                     2.     On October 15, 2008, Highland Capital placed the Crusader Funds in wind-down,
                     “compulsorily redeeming” Crusader Fund’s limited partnership interests. Highland Capital
                     also declared that it would liquidate the remaining assets and distribute the proceeds to
                     investors. However, disputes over the appropriate distribution of the assets arose between
                     those investors who had voluntarily redeemed their interests earlier in 2008 but had not yet
                     been paid their redemption amount (“Prior Redeemers”) and those who were compulsorily
                     redeemed in October 2008 (“Compulsory Redeemers”) (collectively, the “Redeemers”).

          B.         The Plan and Scheme
                     1.     At about the same time, an investor raised allegations of misconduct by Highland
                     Capital and filed a wind-up petition in the Supreme Court of Bermuda. In 2011, after several
                     years of negotiations among the Prior Redeemers, Compulsory Redeemers, and Highland, the
                     Plan and Scheme were adopted and became effective in August 2011. The adoption of the
                     Scheme and Plan was to “enable the orderly management, sale, and distribution of the assets”
                     by Highland and the right of the Redeemers Committee to oversee Highland’s services. HC-
                     300 at 300.017.




2There are three sets of exhibits that will be referred to herein, Joint Exhibits (referred to as JX- —), Redeemer Committee Exhibits (RC- —), and Highland
Capital Exhibits (HC- __).
                                                                    2




                                                                                                                                          Appx. 00407
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          2.      Central to the Scheme and Plan was the role of the Redeemer Committee, which was
          created so as to allow the investors in the Funds to have a greater level of influence over the
          affairs of Highland Capital than an ordinary creditors’ committee would have in the
          liquidation of the Fund; that increased “level of influence” was particularly manifest in the
          Committee’s ability to approve or disapprove of actions that Highland was contemplating
          taking, right of first refusal on other activities Highland wished to engage in, and the
          Committee’s ability to terminate the services of Highland on 30 days’ notice “with or without
          Cause.” HC-300 at 300.016. Thus, the relationship between the Redeemer Committee and
          Highland, although grounded in contract, was designed to become one of mutual cooperation
          and confidence.

          3.      Pursuant to §2.04 of the Plan, a ten-person committee of Crusader Fund investors,
          composed of five representatives of the Prior Redeemers and five representatives of the
          Compulsory Redeemers, was created. HC-300, § 2.04. As part of the Plan and Scheme,
          Highland Capital continued to serve as the investment manager for the Crusader Funds. As
          part of its duties as investment manager, Highland Capital was to liquidate fund assets and
          distribute the proceeds to the Crusader Fund investors pursuant to an agreed 43-month
          distribution schedule. In addition, as an incentive to Highland in its liquidation of assets, the
          Scheme and Plan provided that the Deferred Fees would be paid to Highland if it completed
          the full liquidation.

          4.      It is not disputed that, between October 2011 and January 2013, Highland Capital
          distributed in excess of $1.2 billion to the Crusader Fund investors. It is also not disputed that
          the Crusader Funds were not completely liquidated when Highland paid itself the Deferred
          Fees in January and April 2016 and the Funds remain unliquidated as of the time of these
          hearings.

     C.    The Arbitration Agreement

          1.      Sections 2.09 and 9.03 set forth the terms and conditions by which these disputes are
          to be resolved in arbitration. Section 2.09 provides, in relevant part, that “in the event of a
          dispute between the Crusader Funds or the Redeemer Committee and HCMLP, ... the
          applicable representatives shall confer in god faith in an attempt to resolve the dispute...If
          the dispute cannot be resolved by mediation it will be referred to arbitration in accordance
          with Section 9.03.”

          2.      Section 9.03 provides, in relevant part, that “Any dispute referred to in Section
          2.09...shall be subject to and decided by arbitration administered by the American
          Arbitration Association in accordance with its Commercial Arbitration Rules, and judgment
          upon the award rendered by the arbitrator(s) may be entered in any court having jurisdiction
          thereof pursuant to applicable law. Arbitration shall be conducted in New York, New York.”

     D.   Termination of Highland Capital and Ensuing Litigation

                                           3




                                                                                            Appx. 00408
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          1.     For reasons set forth below, disputes began to arise between the Redeemer Committee
          and Highland Capital, culminating in the termination of Highland Capital as investment
          manager by letter and notice dated July 5, 2016, for cause and without cause, with
          termination being effective on August 4, 2016, RC-318. Highland Capital was replaced as
          investment manager by Alvarez & Marsal CRT Management, LLC (“A&M”). JX-31.

          2.      On July 5, 2016, the Committee filed a Notice of Claim before the AAA, commencing
          an arbitration against Highland, RC-319, and also commenced litigation in Delaware
          Chancery Court, inter alia, to obtain a status quo order in aid of the arbitration. On July 8,
          2016, a Vice Chancellor entered an oral status quo order in aid of this arbitration, pending
          the adjudication of the Committee’s request for interim relief by an AAA arbitrator on an
          emergency basis pursuant to AAA Rule 38. On August 2, 2016, an Emergency Interim Order
          was entered by an Emergency Arbitrator appointed by the ICDR, which order replicated the
          oral status quo order entered in Delaware Chancery Court.

          3.      On July 21, 2016, Highland filed its Answering Statement, denying the claims and
          asserting affirmative defenses.

     E.   The Arbitration
          1.     This Tribunal was established as of October 31, 2016. The parties consented to the
          appointment of the Tribunal.

          2.      On October 14, 2016, Claimant filed an Amended Notice of Claim, seeking specific
          performance, injunctive relief, declaratory relief, money damages, and disgorgement arising
          out of the allegedly willful misconduct and violations of fiduciary and contractual duties by
          Highland Capital as investment manager of the Highland Crusader Fund. Claimant sought
          four species of relief: (a) an award requiring Highland Capital to provide to the Committee all
          information about the Fund and its assets as required by Section 2.05 of the Plan and Section
          4.6 of the Scheme; (b) an award of money damages, including disgorgement, for Highland
          Capital’s allegedly willful misconduct and breaches of its fiduciary and contractual duties,
          and for any unjust enrichment; (c) an injunction requiring Highland to return the so-called
          Deferred Fees and Distribution Fees to the Crusader Fund; and (d) declarations that the
          Consenting Compulsory Redeemers are entitled to payment of the Deferred Fee Account,
          and that Highland is not entitled to advancement of expenses and legal fees.




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                                                                                         Appx. 00409
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          3.     On December 14, 2016, Respondent filed a motion for partial summary adjudication,
          seeking dismissal of those claims seeking monetary damages, seeking relief as both breaches
          of contract and of fiduciary duties, and seeking relief barred by the applicable Statute of
          Limitations; by Order of March 1, 2017, we denied such motions without prejudice to their
          being renewed upon the development of a fuller record.

          4.       On February 16, 2017, Claimant filed a motion for partial summary adjudication,
          seeking an order compelling Highland to comply with its alleged contractual obligation
          under the Plan and Scheme to provide the Committee with the Crusader Fund’s books,
          records and other information from 2011 to 2016. By Order, dated April 21, 2017, we entered
          a Partial Final Award, granting the relief sought by Claimant, and ordering Highland, inter
          alia, to produce non-privileged documents, as described in the Order.

          5.      On April 11, 2017, Respondent moved for Summary Adjudication of its counterclaim
          for advancement to defend against the claims brought by the Claimant in the Arbitration and
          in the parallel Delaware action, Redeemer Committee of the Highland Crusader Fund v.
          Highland Capital Management, L.P., C.A. No. 12533-VCG (Del. Ch.) (the “Delaware
          Action”). Respondent sought a mandatory injunction requiring the Fund to escrow and
          segregate Crusader Fund assets to cover its indemnification and advancement rights. By
          Order and Partial Final Award in favor of Claimant, dated July 20, 2017, we denied
          Highland’s motions for advancement in this Arbitration and in the parallel Delaware Action
          and for the mandatory injunction, on the ground that the “inter-party indemnification
          exception” applies.

          6.     On December 8, 2017, Highland moved to amend its Counterclaims against the
          Redeemer Committee of the Highland Crusader Fund and for leave to file a third party
          demand for arbitration against Alvarez & Marsal CRF Management, LLC (“A&M CRF”),
          Alvarez & Marsal North America, LLC (“A&M NA”), and House Hanover, LLC (“House
          Hanover”). On January 11, 2018, following a pre-hearing conference call, Respondent filed a
          revised proposed amended Counterclaim against the Committee alone, raising counterclaims
          of breach of the covenant of good faith and fair dealing in the its performance and
          enforcement of the Plan, breach of its fiduciary duty, and aiding and abetting the breach of
          fiduciary duty by A&M CRF, A&M NA and House Hanover.




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                                                                                       Appx. 00410
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          7.      By Order dated January 25, 2018, we granted the motion to amend Highland’s
          counterclaims that raised direct claims of breach of fiduciary duty, breach of contract, and
          breach of the covenant of good faith and fair dealing arising out of the so-called Deferred
          Fees allegedly owed to Highland, and denied the balance of Highland’s request for leave to
          file Counterclaims and Third Party Claims.

          8.     On February 1, 2018, Respondent filed an Amended Answer and Counterclaims,
          seeking an order that the Committee account to Highland as an investor therein for all
          payments, gains, profits, and advantages obtained as a result of the Committee’s alleged
          wrongful actions; that the Committee pay money damages, disgorge, and make restitution to
          Highland for damages arising from the Committee’s alleged breaches of contract, breaches of
          the covenant of good faith and fair dealing, and breaches of fiduciary duty, including by
          awarding Highland the Deferred Fees allegedly improperly withheld, as well as an award of
          Highland’s fees and expenses, including reasonable attorneys’ fees incurred in this action;
          and such other relief as the Panel deems fair and equitable.

          9.     On February 15, 2018, Claimant moved to strike portions of the Counterclaims on the
          grounds that certain of the new pleadings went beyond the limitations set by the Panel in
          the January 25 Order by including allegations that relate directly to claims the Panel had
          ordered not be included in the revised Counterclaim. By Order dated April 1, 2018, we
          granted the motion of the Claimant to strike portions of the Counterclaim and directed
          Respondent to submit a revised Counterclaim to Claimant and the Panel.

          10.   By Order dated March 19, 2018, we directed that “any party wishing to make a
          motion shall write a letter to the Panel, with copy to opposing counsel, seeking permission to
          make such motion...”

          11.     By letter dated March 28, 2018, Highland requested permission to file a motion for
          partial summary adjudication with respect to the Committee’s breach of fiduciary duty
          claims that accrued before July 5, 2013, which Highland contends are barred by the statute of
          limitations. By Order dated April 5, 2018, relying upon AAA Commercial Arbitration Rule
          33, we denied Highland’s application to make a motion for partial summary adjudication,
          without prejudice to their doing so at the close of the Committee’s main case at the hearing,
          if such factual and legal issues were briefed in the Pre-Hearing Briefs.

          12.      On April 5, 2018, Respondent filed its revised Amended Counterclaims, seeking
          relief, as earlier, for alleged breaches of contract, of fiduciary duty, and of the covenant of
          good faith and fair dealing.




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                                                                                             Appx. 00411
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          13.   On July 12, 2018, Highland moved to strike what it characterized as a new claim by
          the Committee. The Committee opposed the motion. By Order dated July 22, 2018, the
          motion to strike was denied.

          14.    On August 19, 2018, after a series of discovery motions were decided, the Parties
          entered into a Joint Proposed Pre-Hearing Consent Order, which was So Ordered by the
          Panel.

     F.   Hearing Dates and Witnesses

          1.     An evidentiary hearing was held in New York, N. Y. on September 12-14, 17-18, 20-
          21, and 24-25, 2018.

          2.     Claimant presented the oral testimony of Eric Felton, Burke Montgomery, David
          Morehead, and Brian Zambie, all Members of the Redeemer Committee; Steven Varner,
          Alvarez & Marsal (“A&M”); Robert Collins, PriceWaterhouseCoopers; and two experts, Scott
          Meadow, Analysis Group; and Basil Imburgia, FTI Consulting.

          3.     Respondent presented the oral testimony of Isaac Leventon, Esq., Highland internal
          counsel; Brant Behr, Redeemer Committee Member; Matt Jameson, formerly employed by
          Highland Capital; Scott Ellington, General Counsel, Highland Capital; the deposition
          testimony of Thomas Sargent, the Compliance Officer of Highland; and two experts, James
          Finkel, Duff and Phelps, and Karl Snow, Bates and White.

     G.   Post-Hearing

          1.    On October 24, 2018, Claimant filed its Post-Hearing Memorandum on its Claims and
          Respondent filed its Post-Hearing Memorandum on its Counterclaim.

          2.   On November 17, 2018, Claimant filed its Reply to Respondent’s Post-Hearing
          Memorandum and Respondent filed its Reply to Claimant’s Post-Hearing Memorandum.

          3.      On November 30, 2018, the Panel heard closing arguments from counsel to the
          Parties.

          4.     On December 10, 2018, the Parties filed Supplemental Post-Trial Memoranda, dealing
          with questions asked by the Panel during closing arguments.

          5.     On December 12, 2018, the record was declared closed.


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                                                                                       Appx. 00412
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          6.     On January 5, 2019, at the request of the Panel, the Parties consented to the
          adjournment of the timing of the award from January 11, 2019 to February 28, 2019. On
          February 25, at the request of the Panel, the Parties consented to the extension of the
          deadline to March 7, 2019.



     H.   Issues to be Determined

          1.     Claimant has pleaded four claims of breaches of fiduciary duty and of breaches of
          contract, arising out of similar fact patterns, as follows:

                 a)    The taking of the Deferred Fees;
                 b)    The payment of Distribution Fees;
                 c)    The purchase of Plan claims without Redeemer Committee approval; and
                 d)    The transfer of Barclays’ Fund interests without Redeemer Committee
                 approval.

          2.     Separately, Claimant has pleaded claims of breach of fiduciary duty, as follows:

                 a)     Engaging in related party transactions without Redeemer Committee approval
                 b)     Refusing to settle claims brought by Credit Suisse;
                 c)     Refusing to resolve the claims brought by UBS, which included a Temporary
                 Restraining Order (“TRO”); and
                 d)     Failing to make a good faith effort to sell the Cornerstone asset.

          3.      In addition, Claimant seeks a declaratory judgment that there should be an immediate
          distribution of the Deferred Fee Account to the Consenting Compulsory Redeemers.

          4.     Respondent has pleaded one counterclaim against the Redeemer Committee, alleging
          that the Committee breached its contractual and fiduciary duties by delaying liquidation of
          the Fund’s assets after July 2016, and depriving Respondent of its right to receive the
          remaining funds in the Deferred Fees account payable upon complete liquidation of the
          Fund.




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                                                                                         Appx. 00413
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               5.     Both Claimant and Respondent have also made claims for the recovery of their
               attorneys’ fees and costs.

        I.     Applicable Law

               1.      At the outset, we address which law applies to which claims. It is not in dispute that
               Claimant’s breach of contract claims are governed by the law of New York State. However,
               Claimant contends that the law of New York State also applies to the breach of fiduciary
               duty claims, as the breaches are claimed to arise from Highland’s relationship with the Fund
               and its investors under the Plan, which provides for New York law. Respondent argues that
               any fiduciary duties owed by Highland arise under its services as investment manager of the
               Crusader Fund, and, thus, are governed by the law governing the Fund’s Governing
               Documents, the state of Delaware.

               2.     Although there are few, if any, significant differences between New York and
               Delaware regarding fiduciary duties of entities in the position of Highland vis-a-vis its
               investors and the Committee, we find that the governing law on the breach of fiduciary duty
               claims is most appropriately that of New York, the state whose law governs regarding the
               Plan and rights of the parties under the Plan.

 III.   Discussion of The Issues
        A.     We recognize and appreciate the exemplary efforts by counsel for each Party. The results set
        forth herein are not a reflection of any difference in the quality of those presentations, but of our
        review of the evidentiary record and of the relevant law.

        B.     Taking of Deferred Fees

               1.     When the Plan and Scheme were adopted, a prominent feature was the creation of a
               Deferred Fee Account which was designed to provide an incentive to Highland to liquidate
               expeditiously the Crusader Fund of its assets. Deferred Fees were annual performance fees
               payable to Highland but deferred until, as, and when there would be a “complete
               liquidation” of the Crusader Funds’ assets,” Scheme §1.5.2, Plan §2.02, HC-300.




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                                                                                               Appx. 00414
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           2.      The evidence is uncontested that, as of the close of the hearing record in this matter,
           the Crusader Funds have not been completely liquidated. It is also uncontested that, on
           January 21 and April 6, 2016, Highland distributed to itself a total of $32,313,000 in Deferred
           Fees. JX-25 at 14; JX-26 at 13. Highland’s stated rationale, or “position,” for making the
           payment without there first having been complete liquidation was set forth in the financial
           statements of the Funds for the year-end 2015, issued on April 22, 2016: the UBS TRO
           “prevented the full liquidation” and that Highland “would have received the Deferred
           Fees...but-for the impact of the restraining order still in place.” Thus, Highland “believe[d] its
           right to receive the [Deferred Fees] crystalized as of the date the [TRO] was lifted,” or
           January 21, 2016, JX-025.0010.

           3.      The core of Highland’s position was that, in January 2016, it sought, received, and
           relied on the advice of its outside counsel Akin Gump that the UBS TRO created an
           impossibility for it to have earned the Deferred Fees, thus allowing the self-payment.
           However, based upon the evidence heard, we do not find that Highland relied upon any such
           advice in executing its plan to take the Deferred Fees.

           4.      We find that in January 2016, Highland’s CEO James Dondero raised the possibility of
           taking the Deferred Fees before complete liquidation with Thomas Surgent, a Deputy
           General Counsel and Chief Compliance Officer at Highland, who then discussed the idea
           with Highland’s General Counsel, Scott Ellington. Surgent Dep. 133:4-19. Mr. Ellington
           testified that, in January 2016, he and others spoke on several occasions with lawyers from
           Akin Gump regarding the premature taking of the Deferred Fees, and that he received the
           advice that “the deferred fees could be taken under the circumstances,” that it was a
           “calculated risk,” and that, if successfully challenged, Highland would owe only “nominal
           interest.” Tr. 10 167:14-168:25; 167:14-168:25.

           5.      However, Mr. Ellington’s testimony is not supported by the hourly billing records of
           Akin Gump, which do not show any time being billed in January 2016 for anything having
           to do with this or any other Highland-related issue. RC-523; Tr. 11 136:9-14. Furthermore,
           Highland’s Assistant General Counsel, Isaac Leventon, testified that neither he, nor, he was
           certain, anyone else at Highland, consulted with outside counsel in January 2016 regarding
           taking the Deferred Fees. Tr. 7 236:11-24. When Highland executed on its “position” by
           paying itself the Deferred Fees in January and again in early April, Highland did not disclose
           the self-payment to its independent auditor or the Redeemer Committee.




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                                                                                             Appx. 00415
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           6.     It was not until April 11, 2016, almost a week after it took the second tranche of
           Deferred Fees that Highland belatedly informed its independent auditor, PriceWaterhouse
           Coopers (PwC), of what it had done by sending it draft financial statements for the year
           ending December 31, 2015, in which Highland disclosed, without explanation, a “change ...
           related to how [they were] ... treating the deferred fee distribution.” RC-288. On April 12, a
           meeting was held between Highland and PwC, at which PwC sought an explanation from
           Highland for the change in position and asked for a memorandum from Highland’s counsel
           and a “copy of the letter that was sent [to the Redeemers Committee] notifying them of the
           position,” JX-28.

           7.      On April 12, Highland proceeded to have, apparently for the first time in 2016,
           discussions with Akin Gump about a justification for its taking the Deferred Fees prior to
           “complete liquidation.” According to Akin Gump’s billable time records, on April 12, there
           was a telephone “call with Thomas Surgent regarding interpretation of distribution plan and
           charging of fees during period of TRO.” Following that call, on April 19, there was another
           call with Mr. Surgent and Mr. Leventon “regarding audit disclosures with respect to legal
           doctrine applicable to fee dispute…,” following which an Akin Gump attorney started to
           draft a memo on the “impossibility” issue. After further calls and discussions regarding the
           drafting of the disclosure to the auditor, a memorandum was finalized and sent to PwC on
           April 22, 2016, the day that the financials were issued. See RC-523; Tr. 11 136:9-14.)

           8.      Although Mr. Ellington testified the Akin Gump memo was “entirely generated by
           Akin Gump,” without any participation by anyone from Highland, Tr. 10 189:14-21, there is
           contrary and indisputable evidence that, in fact, someone at Highland drafted footnotes to
           the financials that were then provided to Akin Gump and appear in the Akin Gump memo,
           see Tr. 7 283:19-284:9; compare RC-289 with HC-277. Further, Mr. Leventon exchanged
           with Akin Gump and commented upon at least four separate drafts of the Akin Gump memo
           before it was finalized. RC-291; RC-295; -RC300; RC-302; JX-29; Tr. 7 291:4-295:19.

           9.     We find that Highland made a deliberate and calculated decision to make no
           disclosure to the Committee of the actual taking of the Deferred Fees until the issuance of
           the 2015 financial statements on April 22, 2016, but that, in the course of communicating
           with PwC about its “position,” Highland allowed PwC to conclude that it had informed the
           Redeemer Committee of its position regarding the payment of the Deferred Fees, and did not
           correct the misimpression. RC-441. It did so to induce PwC to provide the opinion Highland
           needed to have clean financials.




                                          11




                                                                                           Appx. 00416
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           10.    This was not the first time that Highland had sought to use the so-called
           “impossibility defense” as a basis for suspending its obligations under the Plan. In 2013,
           Highland had proposed to use the doctrine in an attempt to avoid making distributions
           pursuant to the Realization Schedule, attached to the Plan and Scheme. Highland’s then-
           outside counsel, Christopher Panos, now a federal bankruptcy judge, was asked to provide an
           opinion to allow such action but he expressed strong reservations about the use of that
           doctrine in an affirmative context, RC-153.

           11.     Thereafter, Highland tried to secure another opinion that would be more supportive
           of its position and received a PowerPoint presentation from Akin Gump in November 2014,
           HC-356, that provided some additional arguments but, ultimately, focused on the doctrine
           being able to be used only as a defense, see, e.g., HC-356 at 16.

           12.     Finally, when in early 2015, Highland asserted to Committee counsel that, by reason
           of the UBS TRO, “all applicable distribution dates, distribution thresholds and fees payable”
           were tolled, by reason of the UBS TRO, JX-22, Committee counsel had strongly rejected such
           use of the TRO to attempt to justify Highland’s failure to meet “either the Realisation
           Schedule or the distribution threshold for the Deferred Fee Account.” RC-219.

           13.      Notwithstanding two prior and unsuccessful attempts to use the doctrine to evade its
           obligations, Highland was not deterred and in late 2015 and early 2016, with the assistance of
           its inside counsel, but not on the advice of Akin Gump,planned for and then executed on the
           strategy to take the Deferred Fees.

           14.     Under New York law, the doctrine of impossibility does not create an affirmative
           right to engage in any conduct; rather, under certain circumstances, it acts as a defense to
           claims of breach of contract. When an unforeseeable event, such as an injunction, occurs,
           and the actions of the non-performing contract party have not contributed to the
           occurrence, and the occurrence renders the performance of a contractual obligation
           objectively impossible, a party’s contractual obligation can be excused. Kel Kim Corp. v.
           Cent. Mkts., Inc., 70 N.Y.2d 900, 902 (1987) (“While such defenses [as impossibility] have
           been recognized in the common law, they have been applied narrowly, due in part to judicial
           recognition that the purpose of contract law is to allocate the risks that might affect
           performance and that performance should be excused only in extreme circumstances”); JJ.
           Cassone Bakery, Inc. v. Consolidated Edison Co. of New York, Inc., 168 Misc.2d 272, 278,
           638 N.Y.S.2d 898 (N.Y. Sup. 1996), rev’d in part on other grounds, 240 A.D.2d 634, 659
           N.Y.S.2d 293 (2d Dept. 1997). Absent such factors, the doctrine of impossibility is not
           available to excuse a party’s performance and cannot be used to justify affirmative conduct.




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           15.    Highland attempts to squeeze itself into the four conditions, but its effort fails. First,
           Highland argues that it is defending itself against accusations of breach of contract by
           invoking, defensively, the impossibility defense. But it is Highland’s illegitimate use of the
           impossibility defense to justify an affirmative act — the taking of the Deferred Fees — that is
           under attack, not its citation of the impossibility defense in 2018 as a defense to its breach of
           contract in 2016.

           16.    Highland also argues that the TRO “rendered the complete liquidation of the Fund
           under the Plan’s Realization Schedule objectively impossible.” Closing Brief at 61. But
           Highland confuses the Realization Schedule which deals with timely distributions with the
           Deferred Fees which come into play only upon complete liquidation of the Fund with no
           deadline. Plan §2.02; Scheme §1.5.2. In any case, when the UBS TRO was dissolved on
           January 21, 2016, there was nothing that prevented Highland from completing the
           liquidation.




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           17.     None of the factors allowing the doctrine of impossibility apply to the taking of the
           Deferred Fees. Indeed, we find that Highland — and its inside counsel —knew none of the
           factors were applicable when Highland asserted the defense. First, the UBS TRO was not
           unforeseeable; in fact, as Mr. Panos had advised his client in 2013, “UBS had already filed suit
           and was threatening to get an injunction at the time of the approval of the Scheme.” Second,
           Highland’s own acts gave rise to the UBS TRO, as it was UBS’s accusation of Highland’s
           fraudulent transfer of assets that gave rise to the TRO, as Mr. Panos again had advised
           Highland. Third, as Mr. Leventon himself testified at the hearings, “the TRO did not do
           away with Highland’s obligation to complete liquidation of the fund.” Tr. 7 262:6-10. Finally,
           the doctrine of impossibility gives rise to no affirmative rights to take action in violation of a
           contract. Once again, Mr. Panos had given this critical advice to Highland in 2013.

           18.     We have considered the other elements of Highland’s defense to this claim and find
           them similarly wanting. We find that Highland’s paying itself the Deferred Fees in 2016
           constituted a breach of both the Scheme and Plan. Given that finding, we need not reach
           the issue of whether the self-payment also constituted a breach of fiduciary duty by
           Highland to the Committee.

           19.     As to remedy, under New York law, damages may be awarded for a breach of contract
           based upon the damages suffered by the claimant. Here, the damage suffered is the full
           amount of the Deferred Fees prematurely taken, plus prejudgment interest from the date of
           the taking. “Prejudgment interest is generally granted ‘in order to compensate the injured
           party for the loss, over a period of time, of the use of the property to which it was
           entitled.’” Panix Prods., Ltd v. Lewis, 2003 WL 21659370, at *2 (S.D.N.Y. 2003)(citing Lewis
           v. S.L. & E., Inc. 831 F.2d 37, 40 (2d Cir.1987)). Although Respondent has raised good
           arguments as to why the interest rate should be nominal at best, we exercise our discretion to
           award statutory pre-judgment interest at 9% from the date of the taking, so as to measure as
           accurately as possible the totality of the damage that we perceive the Fund suffered by reason
           of the Deferred Fees being taken prematurely.

           20.     Respondent also argues that the Tribunal lacks the authority to order a return of the
           moneys taken. But measuring the damages suffered by the Fund by referencing the full
           amount of the Deferred Fees taken is not the same as literally ordering a return of the
           moneys. It is an appropriate measure of the damages because the Fees were to have stayed
           within the Fund until they were appropriately earned, and while in the Fund, they were to
           serve as a protection and cushion against creditors. In addition, very importantly, keeping
           the Deferred Fees was to have acted as an incentive to Highland to complete liquidation of
           the portfolio, an event that had not occurred when Highland was terminated and still has not
           occurred. Taking the Deferred Fees deprived the investors of all of those benefits. The
           Deferred Fees in the amount of $33,313,000 should be returned in full, and with full
           statutory interest of 9% from the dates of taking in January and April 2016 through the date
           of this Partial Final Award.

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      C.   Distribution Fees
           1.      Under the Plan, Highland was to receive fees in the amount of 125 basis points based
           on “all amounts actually Distributed to Redeemers during each quarter following the
                   Effective Date . . . provided that assets equal to or in excess of the amount scheduled
           in the Realisation Schedule have been distributed to Redeemers during such quarter (with
           amounts distributed to Redeemers in excess of scheduled distributions for prior quarters
           being carried over.)” (Emphasis added) (Plan §2.01; Scheme §4.4.)

           2.      Claimant alleges that Highland breached the provisions of the Plan by paying itself
           distribution fees totaling $14.5 million despite not having “actually” distributed to the
           Redeemers each quarter the minimum required to have been paid by the Realisation
           Schedule (Plan Appx. A). The Committee alleges that Highland paid itself distribution fees
           eight times, but that the only time Highland met or exceeded the goals set by the Realization
           Schedule was in the quarters ending January 31, 2013, and April 30, 2013. Other than those
           two quarters, Claimant contends that Highland missed the target in every other time
           period. Claimant also charged Highland with a breach of fiduciary duty, arising out of
           similar facts.

           3.      The Committee alleges that six of the distribution fee payments were improper
           because Highland improperly calculated the amount paid to the Redeemers in one or more of
           the following ways: (1) in treating Deferred Fees as Distributions; (2) in withholding tax
           obligations from payments to Redeemers, but counted them for purposes of qualifying for its
           fee; (3) in improperly including amounts that it reserved to pay Barclays, amounts used to
           pay the Barclays settlement, and amounts paid to its affiliate Eames in its calculation of
           Distributions; and (4) in borrowing on margin and improperly treating such borrowings as
           “excess cash” under the Plan and, therefore, as Distributions.

           4.     In addition, Claimant argues that if Highland missed any quarterly hurdle set in the
           Realisation Schedule, its deficiency would carry over to the next quarter, giving Highland an
           accordingly higher hurdle, or watermark, to meet in that next quarter. In other words,
           Claimant urges that the Realisation Schedule was intended to be cumulative.

           5.     Cumulative Quarterly Hurdles
                  a)     Starting with the last issue first, the language in the Plan in question is as
                  follows: “HCMLP will receive fees in cash ... (b) provided that assets equal to or in
                  excess of the amount scheduled in the Realisation Schedule have been distributed to
                  Redeemers during such quarter (with amounts distributed to Redeemers in excess of
                  scheduled distributions for prior quarters being carried over).” HC-300 at 74
                  (emphasis added). Plan §2.01.


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                b)      Claimant argues that, although the foregoing language is not explicit regarding
                both the positive and negative cumulative nature of the Realisation Schedule, there is
                evidence sufficient to establish that requirement from the text itself and from the
                testimony of those who negotiated the clause in the Plan, citing the testimony of Mr.
                Montgomery (“The Realisation Schedule was a cumulative concept. 100 million
                during one period, 100 million to the next, 200 million during the next. . . . it was
                designed to be cumulative. It was a stack.”) Tr. 3 307:5-19. The Committee also points
                out that Highland kept internal accounting schedules that treated the Schedule as
                cumulative, including RC-364 at pp. 10, 23, 36, 49, 62, 75, 88, 101, 114, 127, 140; see
                also Tr. 4 196:17-197:19; Tr. 9 256:14-259.

                c)      Finally, the Committee urges that there would be “perverse incentives” if
                Highland were allowed to treat the Schedule as cumulative if it got ahead of the
                distribution schedule but not if it fell behind, because if Highland knew it could not
                make a quarterly target, it would have the incentive to skip that quarter and wait
                until the next quarter where it would meet the Realisation Schedule for only that
                quarter. This would have the undesirable effect of delaying liquidation but not
                adversely affecting Highland’s receipt of incentive fees.

                d)     Highland strongly urges that the clause in question is unambiguous in
                requiring only a positive carry-forward, with no hint that a failure to meet a quarterly
                hurdle imposed an obligation to reach a high water mark that would meet both the
                prior hurdle and the present quarterly hurdle. In addition, Highland argues that, as
                Mr. Montgomery conceded on cross-examination, the Plan could have contained a
                cumulative shortfall provision, but that the inclusion of such language was never
                discussed with Highland, Tr. 3 at 308:7-13, and such could have been incorporated
                into the Plan had that been the Parties’ intent.

                e)      Highland also criticizes the Committee’s “perverse incentive” argument,
                arguing, first, that Highland was highly incentivized to liquidate as quickly as possible
                so it could receive Distribution Fees during the pendency of the 36-month Realisation
                Schedule (§2.02) and obtain the $10 million Deferred Fee by distributing $1.7 billion
                within 43 months of the Plan’s Effective Date (§6.02); and, secondly, “if Highland fell
                too far behind,” it would lose its incentive to continue expeditious liquidation of the
                Fund’s assets. Respondent’s Post-Hearing Brief at 57. See Tr. Day 12 at 169:3-18
                (Snow).




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                  f)      In interpreting the section of the Plan, it is significant that the language
                  regarding a positive carry-forward appears in a parenthetical phrase, not in the main
                  operative text. Without considering the parenthetical, we read the main operative
                  text as setting a test that Highland has to meet — each quarter, assets “equal to or in
                  excess of the amount scheduled in the Realisation Schedule” must be distributed to
                  Redeemers, or else Highland will not “receive fees in cash” that quarter. Thus, each
                  separate quarter, Highland has to make a required distribution or will not be paid
                  fees. But if each quarter there is a test that Highland has to meet, it would defeat the
                  purpose of the quarterly test for Highland to be able to garner fees by just meeting the
                  goal for one particular quarter without regard to how it had performed the prior
                  quarter. Without a reward or a penality each quarter dependent upon whether it met
                  (or exceeded) the goal, Highland could undermine the objective of the clause. The
                  supplemental parenthetical phrase simply makes explicit one benefit to Highland of
                  overachieving such quarterly goal. We conclude that §2.01 requires both a positive
                  and negative cumulative process.

                  g)     To read it otherwise would create a perverse incentive of encouraging
                  Highland to skip quarters. The contrary is not true: by having both a positive and
                  negative cumulative obligation, Highland loses no incentive to continue to liquidate,
                  perhaps at a faster pace than it in fact adopted, if it were to fall behind.

                  h)     Though we reach our conclusion without need to rely on extrinsic evidence,
                  we note that our interpretation is supported by Mr. Montgomery’s testimony
                  regarding Highland’s request to include a parenthetical to make clear that it would
                  not lose the benefit of an over-distribution and could carry it forward. See JA Apparel
                  Corp. v. Abboud, 568 F.3d 390, 397 (2d Cir. 2009).

      D.   Deferred Fees as Distributions
           1.     With respect to Highland’s treating Deferred Fees as Distributions, the Committee
           urges that Deferred Fees being reserved in an account for possible later distribution were not
           amounts “actually Distributed” or the kind of Distributions made to Redeemers as part of the
           return to them of their investment.

           2.      Highland defends on the basis that the Committee’s position that Deferred Fees
           should not be included in calculating Distribution Fees is inconsistent with the parties’
           course of performance. From the outset, Highland argues that it included Deferred Fees in its
           calculation of Distribution Fees and gave written notice of its inclusion to the Committee on
           at least four occasions. HC-552; HC-591; HC-592; HC-593. However, Highland is not making
           the argument that the Plan was amended by what it says was its known conduct.




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           3.      Highland also argues that its successor, A&M, also included Deferred Fees in its
           calculation of Distribution Fees based upon the substantively identical language in the A&M
           investment management agreement, HC-56 at 6, and received a Distribution Fee based on
           that calculation in October 2016.

           4.       We find that whether Highland’s conduct was disclosed to the Committee or
           whatever A&M may have done are both irrelevant to the issue in this case, because, as we
           analyze the evidence adduced, the only relevant issue is whether including Deferred Fees in
           the calculation of Distribution Fees is authorized by the language of the Plan, and we find
           that it is not.

           5.      The Plan sets forth a program of fees capable of being paid to Highland: if Highland
           met certain quarterly goals of distributions made to Redeemers, as set forth in the Realisation
           Schedule, it was entitled to receipt of certain Distribution Fees; if it distributed at least $1.7
           billion to the Redeemers prior to the 43d month following the Effective Date, it was entitled
           to receive payment of the fees in the Deferred Fee Account in accordance with Section 2.02
           of the Plan.

           6.      The Plan distinguished what Highland had to do to qualify to receive each category of
           Fees. With respect to Deferred Fees, the Plan provides that “Highland shall not be deemed to
           be a Redeemer in respect of the deferred fees." We read that sentence as making clear that
           Highland’s setting aside of Deferred Fees into a account that it might eventually be able to
           draw upon should not be construed as a form of distribution such that, if it were a Redeemer,
           it could be construed as an “actual” distribution. Because Highland is not “deemed to be a
           Redeemer,” its payment to a fund is not equivalent to a Distribution to an investor.

           7.    We find that this language is not ambiguous and does not allow for the practice used
           by Highland to beef up the amount of Distribution Fees it received.




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      E.   Withholding Taxes as Distributions
           1.      The evidence at the hearing was that, as required in the Plan, HC-300 at 80, Highland
           took into account the amount of taxes that should be withheld and paid those amounts to the
           appropriate taxing authorities; however, Highland also included those withheld amounts in
           the calculation of amounts “actually” distributed to Redeemers. The Committee contends
           that such withheld amounts were not “actually Distributed to Redeemers,” and points out
           that, in fact, only a subset of Redeemers — the Offshore Fund investors — were subject to
           tax withholding, RC-62; Tr. 9 275:5-23, while some investors were nonprofits that did not
           pay taxes at all, Tr. 12 167:5-24. The Committee also points out that, when first informed in
           2012 that Highland had counted tax withholdings toward the May 1, 2012 Distribution, the
           Committee objected, demanding successfully that Highland make up that shortfall. RC-68;
           Tr. 3 301:6-12; Tr. 9 278:4-279:16.

           2.      Highland makes two points in its defense: first, tax withholdings made on behalf of an
           employee are considered “compensation,” so tax withholdings for Crusader investors should
           also be treated in a “common-sense manner” as “distributions” to those investors; and second,
           Highland disclosed its methodology in at least one monthly report in November 2013, HC-
           591 at 14 (Nov. 2013 Summary Report), to which the Committee never objected.

           3.      We need not consider either of these defenses because we find the language of the
           Plan supports the treatment by Highland of these amounts. As stated above, “Distributions”
           is defined as “Amounts to be paid to Redeemers under the Plan, including amounts to be paid
           to Redeemers under the Scheme...” §1.01. The operative language regarding withholding for
           taxes is as follows: “In connection with ... all Distributions to be made hereunder, the
           Crusader Funds shall, to the extent applicable, comply with all tax withholding and reporting
           requirements imposed by any ... taxing authority, and all Distributions hereunder shall be
           subject to any such withholding ... requirements. The Crusader Funds are hereby authorized
           to take any and all actions that may be necessary or appropriate to comply with any such
           requirements.”

           4.    Read together, we find that “the amounts paid to Redeemers” were “subject to ...
           withholding requirements” and thus, were appropriately included within the calculation of
           amounts distributed to Redeemers, even if, in fact, it was an indirect payment. We find for
           Highland on this branch of the Committee’s claim.




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      F.   Payments to Barclays and Eames as Distributions
           1.      In 2006 and 2007, Barclays and a Highland affiliate entered into two securities
           transactions — a prepaid forward transaction and an accreting strike option transaction. In
           connection with those two transactions, Barclays became an investor in the Highland Funds.
           JX-5. In late 2008, Barclays submitted redemptions for its full interests in the Highland
           Funds, which Highland did not honor. Litigation between Barclays and Highland entities
           ensued. When the Plan and Scheme were adopted, Barclays did not consent and became
           what it is referred to as a Non-Consenting Redeemer. HC-300, at HC-300.0075.

           2.     Thereafter, when Fund assets were disposed of and amounts distributed to
           Redeemers, no amounts were actually paid to Barclays; instead, amounts equivalent to those
           that Barclays would have received if it was a Consenting Redeemer were paid into the
           Redeemer Trust Account. That Account was set up for the purpose of segregating the
           deposited funds so they could be “used to pay all costs of HCM-Related Parties and the
           Redeemer Committee to defend, respond to, settle and satisfy any Claims by Crusader Fund
           Redeemers excluding Plan Claims ("Redeemer Claims") and ... to defend, respond to, settle
           and satisfy any such Redeemer Claims in advance of any amounts otherwise properly
           available for such purposes out of the assets of the Crusader Funds.” Plan 6.01.

           3.      Notwithstanding such amounts remained in a designated account at a major financial
           institution, Highland treated such reserves as “actual” Distributions and paid itself fees based
           on the amounts reserved. The Committee argues that amounts reserved in the Redeemer
           Trust Account were not “actually Distributed” and that fees taken by Highland for such
           deposits were taken in breach of the Plan.

           4.      We find that Highland’s treatment of the reserves as Distributions violated the terms
           of the Plan.

           5.      In July 2012, Highland, Barclays, and other entities entered into a settlement
           agreement, resolving all of the claims between and among them. JX-5. As part of the
           settlement, Barclays received both the cash reserved since August 2011 and several
           additional cash distributions expected between July and December 2012, essentially the exact
           distribution amounts that it was entitled to as a Consenting Redeemer. Tr. Day 9 at 146:12-19
           (Palmer); HC-275; HC Demo 10 at 4. Pursuant to the settlement, Barclays became a
           Consenting Redeemer, see JX-5 at 12 (§ 11.3). Highland treated such portion of the
           settlement payments as “Distributions” and paid itself the fees associated with that amount of
           Distributions. The Committee contends that any payments to Barclays were in settlement of
           various claims, in exchange for which there was a “relinquishment and/or abandonment” of
           all of Barclays’ rights and interests in the Highland Funds, JX-5 at 3, and, thus, such
           payments were not Distributions.



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                        6.      Finally, as part of the settlement, the two limited partner interests that Barclays had
                        in the Funds were transferred to a newly-formed and wholly-owned affiliate of Highland,
                        Eames; amounts equivalent to what Barclays would have received as an investor after the
                        settlement were paid to Eames, totaling $35.1 million, and Highland treated such amounts as
                        Distributions and paid itself the appropriate fees. The Committee urges that the transfer of
                        LP interests was in violation of Section 2.05(f) which gives that the Committee “the
                        authority to approve or disapprove the assignment or transfer of interests in the Feeder
                        Funds or Plan Claims,” HC-300, and that the transfer was explicitly disapproved, RC-79
                        (“The Crusader Redeemer Committee does not believe that Highland has the right to take
                        assignment of Barclays' interest in the Crusader Fund. The Committee believes its approval is
                        required for any such assignment under the Plan/Scheme, and the Committee is not willing
                        to approve that assignment.”). Furthermore, the Barclays Settlement Agreement provided
                        that the settlement was subject to Highland’s receiving all necessary approvals under the
                        Crusader Plan of Liquidation, which the Committee contends Highland did not receive. HC-
                        330, §12.3.2, at HC-330.0014.

                        7.       Highland argues, first, that the Committee’s right to approve or disapprove of the
                        transfer of interests under Section 2.05(f) is not applicable because under Section 2.05(g)3, the
                        Barclays settlement did not give Barclays more than it would have received as a Consenting
                        Compulsory Redeemer; that, in any case, 2.05(f) is subject to the “reasonableness” test under
                        Section 2.074; and, finally, that it was entitled to keep the LP interests because the LP
                        interests were in the Redeemer Trust account, citing to HC-275. We find that Highland
                        breached the Plan and Scheme by transferring the LP interests to a wholly-controlled
                        affiliate after the Committee had specifically disapproved of the transfer. Its rejection was
                        reasonable in that it was acting in the best interests of the other investors to have a smaller
                        investment base that would have a greater portion of the asset distributions. The accounting
                        ledger maintained by Highland, which created much confusion at the hearing, was not
                        evidence that the LP interests were in the Redeemer Trust account; we agree with the
                        Committee that the spreadsheet was an accounting convenience for Highland.

                        8.     We also find that Highland breached the Plan by taking fees in connection with
                        amounts reserved in the Redeemer Trust Account; by no stretch of the imagination could
                        one reasonably conclude — or argue — that an amount reserved in an account that was
                        available to settle and pay costs in connection with all forms of Redeemer Claims could be
                        considered as amounts “actually Distributed” to Redeemers. In any case, with respect to the
                        amounts reserved, no Redeemer received any Distribution in the quarters when Highland
                        claimed fees.



 3
  “The Redeemer Committee will have, subject to the execution and delivery of customary and reasonable confidentiality agreements:... (g) the authority to
 approve or disapprove any settlement by the Crusader Funds with Barclays that would be in excess of what Barclays would receive as a Consenting Compulsory
 Redeemer...”

 4
     “The approval of the Redeemer Committee with respect to any matter submitted for approval under Sections 2.05 or 2.06 shall not be unreasonably withheld.”
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           9.     We also find that Highland breached the Plan by taking fees in connection with
           amounts reserved in the Redeemer Trust Account; by no stretch of the imagination could
           one reasonably conclude — or argue — that an amount reserved in an account that was
           available to settle and pay costs in connection with all forms of Redeemer Claims could be
           considered as amounts “actually Distributed” to Redeemers. In any case, with respect to the
           amounts reserved, no Redeemer received any Distribution in the quarters when Highland
           claimed fees.

           10.     Finally, we find that when Barclays received the amounts, as part of the Settlement
           Agreement, that had been set aside in 2012 as if Barclays was then a Consenting Redeemer, it
           did not receive such amounts as Distributions “actually” paid to a Redeemer but rather as
           part of the Settlement amount. Although Barclays was “deemed” to have become a
           “Consenting Redeemer,” it had that status only for the moment in time sufficient to transfer
           its LP interests to Eames. As the Settlement Agreement noted, “certain payments will be
           made by the Highland Entities to Barclays … in consideration of the settlement of the Claims
           hereunder and the assignment, relinquishment and/or abandonment by Barclays of all rights
           and interests it had in the Fund Interests…” HC-330 at HC-330.0003. Highland breached the
           Plan by treating the amounts paid to Barclays as if they had been received as a Consenting
           Compulsory Redeemer as Distributions.

           11.  We conclude that it was improper for Highland to include in the calculation of the
           amounts distributed to the Redeemers:
                a)       The Distribution Fee attributable to the amounts reserved in the Redeemer
                Trust Account;
                b)       The Distribution Fee attributable to the amounts paid in settlement of the
                Barclays claims; and
                c)       The Distribution Fee attributable to the value of the LP interests and amounts
                transferred to Eames.




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      G.   Margin Borrowings as Distributions
           1.      In January and April 2012, Highland caused the Fund to borrow $60 million from its
           Jefferies brokerage account to distribute to Redeemers. The Committee contends that it did
           so because Highland had not liquidated enough assets to meet the Realisation Schedule.
           After learning about the loans in September 2012, the Committee protested and directed Mr.
           Dondero at the September 2012 meeting to take no further margin loans without its consent.
           Tr. 2 353:2-22; RC-85; JX-8. The Committee contends that Highland’s taking such margin
           loans to reach the Realisation Schedule and then paying itself Distribution Fees based on
           having reached the quarterly goal with the assistance of the margin borrowing breached the
           Plan because the margin borrowing did not constitute Excess Cash resulting from the
           liquidation of assets from which Distributions must come. Plan §§1.01, 3.01; Scheme §§2.4.1,
           2.4.2.

           2.     Highland maintains that, as it was authorized under the Plan, to engage in margin
           borrowing, and that amounts were actually distributed to the Redeemers, such payments to
           the Redeemers were appropriately treated as Distributions qualifying it to receive
           Distribution Fees.

           3.      We find that such margin borrowings, which were authorized under the Plan, did not
           qualify as the type of Distribution that would entitle Highland to receive a Distribution Fee.
           The plain language of the Plan requires that any Distribution Fee be paid to Highland only
           upon the appropriate amount of Excess Cash having been accumulated from the sale of
           “assets equal to or in excess of the amount scheduled in the Realisation Schedule…” The
           “assets” referred to are the “assets, respectively, of the Onshore Fund, Offshore Fund I and
           Offshore Fund II…” §2.01. No such assets were sold and therefore no Excess Cash was
           accumulated to be distributed to the Redeemers.




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                     4.      The Committees expert, Mr. Imburgia, determined that the result of Highland’s
                     including the above improper items in the calculation of Distributions to Redeemers in
                     calculating its entitlement to Distribution Fees, resulted in Highland paying itself
                     Distribution Fees to which it was not entitled by an overpayment of $14,452,275 in
                     Distribution Fees. The Committee is entitled to judgment in that amount plus interest at the
                     rate of 9% from the date of each improper fee. RX 408, Schedule 2.1

           H.        Purchase of Plan Claims5

                     1.      From December 2013 through January 2016, Highland purchased twenty-seven Plan
                     Claims from Crusader investors for itself, without the approval of the Committee [ Tr. 5 50:5-
                     8.] The Committee contends that such purchases breached the Plan, because if it had known
                     that the Plan Claims were available for sale, it would have exercised its ROFR. Tr. 3 163:11-
                     24; Tr. 4 389:3-390:23. The Committee urges that the UBS TRO, said by Highland to block
                     any purchases by the Fund during its pendency, does not in fact bar such purchases; in any
                     event, the Committee points out that it is conceded that the Fund had assets other than the
                     allegedly restrained assets with which to make purchases outside of the restrained assets. The
                     Committee seeks damages equivalent to the value of the Claims at the time they were sold,
                     any profits or benefits realized by Highland, and pre-judgment interest at 9%, for a total of
                     $8,897,899 plus interest.

                     2.     Highland raises a number of defenses. First, it argues that, during the period that the
                     TRO was in effect, the Committee agreed with the advice given by the Fund’s (and
                     Highland’s) counsel in the UBS case, Lackey Hershman, that the TRO, at minimum,
                     prevented the Fund from spending cash to buy-out other investors before UBS’s claims were
                     resolved. See Tr. Day 7 at 319:17-332:3. Thus, Highland contends that the Committee cannot
                     prove it would have purchased the Claims had they been offered to it.




 5Plan §1.01: “Plan Claim. The claim of a Redeemer to payment of, or based upon, the Redemption Amount relating to the redemption of its shares or withdrawal
 of its capital account balance, as the case may be, in the Crusader Funds as detailed in Section 4.01.”
                                                                   24




                                                                                                                                       Appx. 00429
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           3.      But the record doesn’t support that interpretation. First, refuting the idea that the
           Committee agreed with the advice being relayed to them is the exchange of correspondence
           between counsel for the Committee counsel and Highland set forth in RC-360, in which
           Committee counsel rejected the advice said to have been received from outside counsel, and
           stated how the Plan Claims should be dealt with if Highland were to persist in asserting that
           the TRO so blocked the Committee’s exercise of its ROFR: “the Committee does not agree
           with Highland's interpretation of the UBS TRO because the expenditure of money to redeem
           interests is not a "Distribution" and, in any event, if Highland feels strongly that it cannot use
           the Funds' assets in this way, any acquisition of the interests by Highland or an affiliate is
           subject to the Committee’s exercising its rights under Section 5.04 when the TRO is lifted or
           when the interests can, in Highland’s opinion, be acquired by the Fund consistent with the
           UBS TRO. Otherwise, the Committee did not approve of the transfer of the Scheme Claims.”
           RC-360 at 87-88.

           4.      Furthermore, before the TRO, when presented with the opportunity to purchase Plan
           Claims, the Committee exercised its right of first refusal (ROFR) on five occasions, see RC-
           358. During the pendency of the TRO, the Committee was informed about only five of
           twenty-eight Plan Claims purchases and disapproved each of the purchases by Highland, but
           the disapprovals were ignored. The Committee informed Highland that it disagreed about
           the scope of the TRO but that if Highland, as Fund Manager believed the TRO prevented the
           Fund from purchasing the Plan Claims, then it would be consistent with the Committee’s
           ROFR for the right to be exercised when the TRO was lifted. HC-580.

           5.    We find that the Committee would have exercised its ROFR if it had been given full
           information and had not Highland been preventing the exercise of the ROFR by invoking
           the TRO and misrepresenting to buyers that it had the ROFR.




                                           25




                                                                                             Appx. 00430
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                      6.      As a second defense, Highland contends that during the period that the UBS TRO was
                      in effect, it relied on advice of counsel that the TRO prevented the Crusader Fund from
                      acquiring any Plan Claims, thus opening the door for Highland to purchase the Plan Claims
                      that would otherwise have been subject to the Committee’s ROFR under §§2.05(f)6 and 5.047
                      of the Plan.

                      7.      Mr. Leventon testified that the TRO was obtained by UBS in response to UBS’s
                      allegation that Crusader Funds had participated in a fraudulent transfer of assets from a UBS
                      debtor; the TRO restricted transfer of assets but because those assets had been acquired about
                      four years previously and disposed of in the ordinary course of business, “the UBS TRO was
                      essentially designed to ‘collateralize’ UBS against the March 25, 2009 asset transfer. And if
                      they couldn't be collateralized with those exact assets and the exact actual cash ... or cash
                      equivalent, then it had to be collateralized with something else. And that something else was
                      the assets of the fund.” Day 7 at 328:12-20. That testimony would suggest that from the
                      moment that the TRO went into effect, the Fund was under constraints not to purchase any
                      Plan Claims or other assets.

                      8.      But this explanation is not convincing. Regarding the advice received from Lackey
                      Hershman, Mr. Leventon testified that the majority of the advice received was orally and
                      over time, and that the advice was “an evolving interpretation” that “crystallized...in the first
                      quarter of 2014.” Id. at 330:9-17. The advice consisted of “a bunch of verbal conversations,
                      but a lot of that advice is embodied in that memo [HC259] that Lackey wrote to the Crusader
                      Fund. Because we wanted the Committee to understand our quandary.” Day 7 at 319:17-
                      332:3 (Emphasis added).




 6
  Plan §2.07(f): “The Redeemer Committee shall have ... the authority to approve or disapprove the assignment or transfer of interests in the Feeder Funds or Plan
 Claims; provided that such proposed assignment or transfer shall be deemed to be rejected if not affirmatively approved in writing within 30 days of submission
 to the Redeemer Committee...”

 7Plan § 5.04: “No assignment or transfer of a Plan Claim after the Effective Date may be purchased by [Highland] or its affiliates without such Plan Claim first
 being offered to, and rejected by, the Crusader Funds.”
                                                                      26




                                                                                                                                             Appx. 00431
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                       9.     The Lackey Hershman memo, dated July 23, 2014, HC-259, deals only with the
                       practical consequences of seeking an amendment to the UBS TRO while an appeal was
                       pending, and does not provide any advice regarding the scope or interpretation of the UBS
                       TRO.8 Notably, there is no other document from Lackey Hershman presented at the hearing,
                       even including emails, that supports Mr. Leventon’s explanation.

                       10.     Perhaps in recognition of the thin basis for its claim that it relied on the advice of
                       counsel, Highland requests that the Panel draw no inferences from the “relatively few
                       written communications on this issue,” because there was, Highland contends, “unrebutted
                       testimony” of the “contemporaneous advice of counsel.” Highland points to a letter from an
                       internal counsel at Highland to the Committee that cites advice from outside counsel
                       regarding the effect of the TRO on the Committee’s ability to purchase Plan Claims, RC-360
                       (“outside counsel to HCMLP has advised that the temporary restraining order which has
                       been imposed by the Court in UBS Securities LLC et al. v. Highland Capital Management,
                       L.P. prohibits the Crusader Funds from purchasing the Scheme Claims using assets of the
                       Crusader Funds”).

                       11.     The statement by internal counsel is the type of hearsay that was received in evidence
                       only because this was an arbitration but to which, under the circumstances, we accord little
                       substantive weight. We find more persuasive the absence of any writing, even an e-mail,
                       directly from the law firm regarding the scope of the TRO and restrictions against the Fund
                       using its assets to purchase Plan Claims or similar items.

                       12.    Further, we find that, even before the TRO went into effect, and thus well before any
                       advice from counsel would have been received, Highland was laying the groundwork for
                       purchasing the Plan Claims for itself and bypassing the Committee’s ROFR.




 8   On questioning by members of the Panel, Mr. Leventon referred to the Lackey Hershman memo in broad terms:

             “As set forth in the Lackey memorandum, which we all have, Lackey reported that UBS said that, Crusader and Highland Credit Strategies could
             neither distribute cash to anybody, nor sell assets, nor make any payments outside of the normal course of business...ARBITRATOR BRODSKY: Is the
             Lackey Hershman memo you're referring to the one that is HC-259, dated July 23, 2014? THE WITNESS: I believe that's correct. ARBITRATOR
             BRODSKY: I don't see any reference to conversations relayed to you by counsel about what UBS said. I see a sentence on page RC-3208 at the top, it
             says, "UBS counsel stated that they're not willing to enter into such a stipulation unless Crusader provided detailed discovery of its cash and asset
             holdings," et cetera, et cetera. Is that what you were referring to? THE WITNESS: Yes. They were not willing to modify the TRO in order to permit
             the sale of assets unless Credit Strategies, Crusader and other defendants handed over detailed financial information that they would not otherwise be
             entitled to in discovery. And we were advised that that was a prohibitive risk.”

 Day 8 170:10-17, 173:4-174:7.


                                                                      27




                                                                                                                                             Appx. 00432
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                      13.      On May 29, 2013, Highland caused the Board of the Master Fund, which it controlled,
                      to adopt a resolution, as follows: “Whereas, ... (2) certain investors from time-to-time desire
                      to sell their interests as redeemed, unpaid shareholders, in the Company ... (any such shares,
                      ‘Offered Shares’); (3) one or more principal accounts (the “Related Accounts’) in which James
                      Dondero ... and/or Highland ... have material, direct and indirect, financial and ownership
                      interests, have enters a bid to purchase certain of Offered Shares; (4) the bid of the Related
                      Account(s) is equal to or greater than the highest bid; ...Now Therefore Resolved That (1) the
                      undersigned Directors hereby consent to the Proposed Transaction and any future transfers
                      of Offered Shares to the Related Account(s)...” RC-276 at 5; Tr. 7 63:25-68:14.

                      14.      This pre-approval of transfers of interests in the Fund to Mr. Dondero, Highland, or
                      its affiliates does not reference the Committee’s ROFR, but it enabled Highland, falsely, to
                      claim that it had a ROFR. Using that Resolution, Mr. Leventon informed multiple investors
                      interested in possible transfers of their interests, that Highland had a ROFR to purchase any
                      Plan Claims, never mentioning the Committee’s prior and superior ROFR. RC2769; RC280;
                      RC434. This conduct alone constituted a breach of the Plan, because it deprived the
                      Committee from having any insight into the transactions as to which the Plan gave them
                      rights to purchase the underlying interests.

                      15.     Furthermore, by the time Highland received the Lackey Hershman memo in July 23,
                      2014, Highland had purchased fourteen Plan Claims, nine of which were not disclosed to the
                      Committee. Thereafter, Highland purchased another thirteen Plan Claims without any
                      disclosure to the Committee. Mr. Leventon testified that the only reason for Highland not to
                      consult the Committee about the 27 purchases in 2013, 2014, and 2015 was its interpretation
                      of the TRO. Day 7, 172:2-10.

                      16.     Additional actions by Highland further demonstrate that the reliance on the TRO was
                      a facade, designed to enable Highland to attempt to purchase a majority interest in the Fund
                      without the Committee’s knowledge. In May 2014 and again in January 2016, Highland
                      hired a broker to solicit all Fund investors, except those who were on the Committee, to buy
                      their interests at half or approximately half of the NAV that Highland had itself set. RC417;
                      Tr. 7 95:8-20, 96:8-23; RC425.




 9 “By way of Written Resolution, the Board of Directors of [the Fund] determined that if the Investment Manager or an affiliate offers to purchase the shares in
 the Fund, then that bid shall be accepted if it is the highest bid. See Written Resolution of the Directors of the Fund dated May 29, 2013. The Board may, in its
 absolute discretion, approve transfers. ... Accordingly, the Investment Manager, as authorized by the applicable documents, hereby bids 60.25 cents of NAV for
 purchase of 100% of Crown Alpha's capital balance as of the November 2015 NAV date”
                                                                     28




                                                                                                                                             Appx. 00433
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           17.     The broker, Wake2O, used talking points drafted by Highland that misrepresented on
           whose behalf Wake2O was acting, represented, without apparent foundation, that the
           offering price of 50% or 55% of NAV was “[t]he current best market bid” and that price
           would go down in the future, and, finally, that the TRO prevented the Fund from making
           distributions and that the Fund held many illiquid assets. RC420; Tr. 7 101:4-11 (“Q: And so
           one of the things that Highland wanted Wake to convey to investors was, hey, you might
           want to sell your interest in Crusader because right now there's this TRO and you're not
           going to be able to get any distributions, right? A.· · That's probably a fair paraphrasing.”).

           18.    Throughout Wake2O’s engagements, it was under pressure from Highland’s CEO to
           pursue investors so that Highland could obtain a greater share of the Fund. See, e.g., RC-250
           (“[K]eep pushing as much and many as quickly as possible....”)(August 2015); and RC-426
           (“Our CEO is keen on starting the process as soon as possible. Please let us know if we can
           start Monday.”) (January 2016); Tr. 7 135:6-137:18.

           19.     It was also in this period that Highland undertook a renewed effort to keep the
           Redeemers Committee in the dark about their purchasing activities. Mr. Leventon was
           significantly involved in providing direction, as well as drafting talking points, to Wake2O to
           “reach out to all non-committee members,” (emphasis added); Tr. 7 146:16-149:7. Highland
           offered Wake2O an incentive fee to acquire interests representing $200 million of NAV, but
           made clear to Wake2O that they should try to achieve that goal without contacting members
           of the Redeemer Committee. Tr. 7 157:13-161:2. The amount of $200 million was not an
           accidental target; it was just $4 million of NAV more than what the Redeemer Committee
           held, Tr. 7 155:15-23. Wake2O’s efforts resulted in the acquisition by Highland of a
           significant number of Plan Claims, amounting to just shy of $200 million, RC418; RC360;
           RC419; RC422; RC423; RC424.




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                       20.      Finally, Highland continued misrepresenting to investors that it had a ROFR and
                       never mentioned in its communications that the Committee was the entity actually
                       possessing that right. Mr. Leventon was the principal instrument through which this
                       misrepresentation and omission were communicated, Tr. 55:19-25 (“Q.·Mr. Leventon, have
                       you ever sent an e-mail to an investor telling the investor that Highland Capital has a right of
                       first refusal in the event the investor wants to sell its interest in the fund? A. With respect to
                       the Crusader Fund, I don't recall having done so.”); but see RC-276; RC-280; RC434; Tr. 7
                       74:22-76:23.)10

                       21.     Based upon the testimony at the hearing, we have serious doubts about the scope of
                       the advice given, if any. In addition, as now conceded, there were adequate untainted funds
                       under the control of the Crusader Funds to have enabled the Committee to exercise its ROFR
                       as to the Plain Claims, had they been informed in a timely way, as mandated by the Plan.
                       10/24/18 Highland Ltr. to Panel at 2; RC-408 at 37.

                       22.     Further, from our examination of the language11 in the TRO, we conclude that the
                       restrained assets were narrowly circumscribed, and the broad position taken by Highland
                       was not well-grounded. The TRO restrained the Crusader Fund only from transferring or
                       disposing of property received, or its cash equivalent, in March 2009 “from Highland
                       Financial Partners, L.P. in connection with the Termination, Settlement and Release
                       Agreement, dated March 20, 2009.” JX13; RC134. The TRO did not preclude the Fund’s sale
                       of unrestricted assets or use of a significant amount of cash in the Fund. JX13.

                       23.   We also find that Highland’s reliance on the UBS TRO was pretextual to support
                       Highland’s true goal of benefiting itself over the interests of the Fund and the Committee.
                       We find that Highland breached the Plan and Scheme by its actions and injured the
                       Committee by its breach. We also found that Highland breached its fiduciary duty to the
                       Committee by so acting.




 10It appears that Mr. Leventon was also involved in a misrepresentation to the Committee about the purchase of a Plan Claim after the TRO had expired. In June
 2016, he requested the Committee’s approval for the purchase of a Plan Claim by an entity he described as a third party that was not affiliated with Highland.
 But in the course of soliciting the sale of the Plan Claim, Mr. Leventon represented that Highland was exercising a ROFR on behalf of itself or its affiliates. Tr. 7
 87:6-89:11; RC-434. In fact, we find that the third party, Charitable DAF Fund, L.P. (“DAF”), was an affiliate of Highland. RC-435; Tr. 7 82:1384:21. Based on
 what Mr. Leventon stated, the Committee approved the transfer. RC-316.

 11“ORDERED, that pending the hearing on this motion, Defendants Highland Crusader Offshore Partners, L.P., and Highland Credit Strategies Master Fund,
 L.P., are temporarily restrained from transferring or otherwise disposing of property received (or if property has already been transferred or disposed to, the cash
 equivalent) in March 2009 from Highland Financial Partner,s L.P. in connection with the Termination, Settlement and Release Agreement, dated March 20,
 2009.”
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           24.     In the calculation of damages owed to the Redeemer Committee by Highland, we
           have assumed that any Plan or Scheme Claims purchased by Highland would have been
           purchased at the same discounted price as Highland did. However, the damages methodology
           used by the Committee’s expert witness on damages makes the assumption that the fair
           market value of each of the Plan Claims was the NAV that Highland had established in each
           of the relevant months. We do not adopt this methodology because of the uncertainty as to
           whether a discount should be applied to the NAV in calculating the appropriate fair market
           value.

           25.     Rather, we adopt the alternative approach suggested by the Committee, which is
           rescission. We order Highland to transfer the 28 Plan or Scheme Claims to the Redeemer
           Committee, to pay to the Committee whatever financial benefits Highland received from the
           28 transactions, less what Highland paid for the Plan Claims, plus interest at the rate of 9%,
           from the date of each purchase. We will leave the hearing open until the parties have
           worked out the exact financial details to comply with this order.

      I.   Related Party Transactions
           1.      The Committee contends that Highland breached its fiduciary duties by engaging in
           multiple related-party transactions without seeking or gaining the approval of the
           Committee The Plan provision in questions requires the Committee’s approval of “all
           transactions between the Crusader Funds and any other HCM-Related Party, while it serves
           as investment manager of the Crusader Funds, including any ‘cross trade’ between the
           Crusader Funds and any other account managed or advised by HCMLP,” Plan §2.06; Scheme
           §4.7.1 (emphasis added).

           2.     First, we must resolve the interpretation question left open by the Order of March 1,
           2017, denying Respondent’s motion for partial summary adjudication regarding these claims.
           We found that the language cited above was ambiguous because while Respondent argued
           that “Crusader Funds” is defined as meaning only four entities, the Master Fund, Onshore
           Fund, Offshore Fund I and Offshore Fund II, Id., § 1.01, and does not include Crusader Fund
           “portfolio companies” and other affiliated “entities,” Claimant argued that if Crusader Fund
           meant only those four entities, there would be no meaning to the “including ‘cross trades’
           language of §2.06, because none of the four entities directly owns assets and thus could not
           engage in cross trades with each other or with any other account managed by Highland.
           Thus, the language ‘including “cross trades” must refer to entities broader than just the
           defined entities within Crusader Funds, or else that portion of §2.06(a) prohibiting cross
           trades would be read out of the Plan. Accordingly, we denied without prejudice the motion
           to dismiss the breach of contract and fiduciary duty claims based on the so-called affiliate
           transactions until after the record has been more fully developed.




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                                                                                          Appx. 00436
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           3.      At the hearing, testimony was taken from two Redeemer Committee members,
           Messrs. Montgomery and Behr, regarding the drafting of the section in question. Mr.
           Montgomery testified that he negotiated the terms of the Plan with Michael Colvin, who
           was then Highland’s General Counsel, telling him that the Committee “needed a related-
           party transaction prohibition, and he agreed to that. And the understanding was that it
           included everything on the Highland side and everything on the Crusader side… we thought
           there was agreement that it was including everything on the Highland side and everything
           on the Crusader side…” Tr. 2, 234:2-6, 235:2-5. Although in response to a question from a
           member of the Panel, Mr. Montgomery could not recall the specific language he and Mr.
           Colvin used to convey this understanding, and on cross-examination, he could not provide a
           reason for how the specific clause was drafted on this point, we credit Mr. Montgomery’s
           testimony on this point.

           4.      Although of limited evidentiary significance, Mr. Behr’s testimony that before the
           adoption of the Plan and Scheme he had had discussions with someone at Highland, whom
           he recalled was Mr. Colvin, about concerns regarding Highland expensing board fees paid to
           its portfolio companies, Tr. 9 76:17-25, 77:2, supported Mr. Montgomery’s testimony, cited
           above, that the subject of prohibiting certain related party transactions was part of the
           negotiations over the Plan. His recollection was supported in part by his contemporaneous
           notes of having raised that subject in the negotiations. HC508 at 142.




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                                                                                       Appx. 00437
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                      5.      In addition, the Committee makes the point that the occasional course of conduct
                      between the parties before the relationship between the parties became a matter of some
                      dispute reflected the belief that the Plan and Scheme required that Highland seek the
                      Committee’s approval before engaging in transactions that involved entities other than the
                      four specific Crusader Fund entities in the definition. See, e.g., Tr. 4 213:6-9.12 Under the
                      established law relating to contract interpretation, “How the parties perform a contract
                      necessarily is manifested after execution of the contract, but their performance is highly
                      probative of their state of mind at the time the contract was signed.” Gulf Ins. Co. v.
                      Transatlantic Reinsurance Co., 886 N.Y.S.2d 133, 143 (First Dept. 2009); “[T]he parties'
                      course of performance under the contract is considered to be the ‘most persuasive evidence
                      of the agreed intention of the parties.’ … ‘Generally speaking, the practical interpretation of
                      a contract by the parties to it for any considerable period of time before it comes to be the
                      subject of controversy is deemed of great, if not controlling, influence.’” Federal Ins. Co. v.
                      Americas Ins. Co., 691 N.Y.S.2d 508, 512 (First Dept. 1999).

                      6.      Based on the foregoing evidence, we resolve the ambiguity in favor of a broad
                      definition of the term “Crusader Funds” to include not only the four specific entities named
                      in §2.06 but also the Crusader Fund “portfolio companies” and other affiliated “entities. The
                      Committee contends that Highland engaged in two types of transactions that required but
                      did not receive its consent: (1) transactions between Highland affiliates and Fund portfolio
                      companies, and (2) transactions directly between Highland affiliates and the Fund entities.

           J.         Related Party Transactions with Portfolio Companies.
                      1.     The Committee contends that Highland breached §2.06 by causing Fund portfolio
                      companies to pay board fees, advisory fees and D&O insurance premiums.

                      2.     Highland responds that transactions between Highland affiliates and Fund portfolio
                      companies were expressly disclosed to the Fund’s investors, see HC-230 at 34-36, and that
                      the investors specifically agreed such transactions were permissible, see HC-118 at 7.
                      Accordingly, Highland urges that there can be no fiduciary duty breaches.

                      3.       Furthermore, Highland urges that the claims arose in 2011 or 2012, and in any case
                      were disclosed to Highland counsel by April 6, 2013, JX-12, and, thus, would be barred by
                      the three-year statute of limitations. Highland characterizes the proof regarding such claims
                      as failing to establish more than the occurrence of “isolated or sporadic acts.”




 12We note that one of Highland’s outside counsel also occasionally used the term “Crusader Funds” or “Crusader” when describing transactions between portfolio
 companies and Highland affiliates, RC83 at 2-3; see JX12; JX10.
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                         4.      The Committee claims that the statute of limitations should be tolled under the
                         “continuing violation doctrine,” which applies where “separate violations of the same type,
                         or character, are repeated over time,” and not where the claims are “based on a single
                         decision that results in lasting negative effects.” Moses v. Revlon, 2016 U.S. Dist. LEXIS
                         106431, *18 (S.D.N.Y. 2016). Under prevailing New York law, “The continuing violations
                         doctrine ‘will toll the limitations period to the date of the commission of the last wrongful
                         act where there is a series of continuing wrongs.’ Shelton v. Elite Model Mgt., 11 Misc.3d
                         345, 361 (Sup Ct, New York County 2005); 78/79 York Assoc. v. Rand, 175 Misc.2d 960, 966
                         (Civ Ct, New York County 1998) … However, ‘it will only be predicated on continuing
                         unlawful acts and not on the continuing effects of earlier unlawful conduct.’ Selkirk v. State
                         of New York, 249 A.D.2d 818, 819 (3d Dept 1998).” Pankin v. Perlongo, 2012 WL 7868667,
                         at *2 (Sup. Ct. N.Y. Cnty. 2012).

                         5.     The evidence brought forth by the Committee failed to show that the payments made
                         by Highland for insurance premiums or for advisory fees were parts of a series of continuing
                         wrongs. Rather, there appear to have been a series of discrete payments made in no regular
                         or consistent pattern and in no similar amounts.13 Under the circumstances, we find in favor
                         of Highland on these claims. We do not reach the issue of whether disclosure to investors
                         would bar a claim for breach of fiduciary duty.

              K.         Related Party Transactions with Highland Affiliates
                         1.       The Committee contends that in 2013 and 2014, without seeking its permission as
                         required under §2.06, Highland sold shares in four CLO assets held by the Master Fund,
                         known as Eastland CLO, Ltd., Grayson CLO, Ltd., Greenbriar CLO, Ltd., and Stratford CLO,
                         Ltd. (the “CLOs”), in what it characterizes as “pre-approved” transactions to Highland
                         affiliates, without seeking the Committee’s approval, as required by §2.06(a), which, as noted
                         above, prohibits “any ‘cross-trades’ between the Crusader Funds and any other account
                         managed or advised by HCMLP.”

                         2.     The proof at the hearing showed that, with no disclosure to the Committee, Highland
                         sold CLOs to brokers it used for other securities transactions who, within a very short time of
                         purchasing the CLOs, sold some or all of the CLOs to Highland affiliates.14 The Committee
                         urges that such sales were breaches of fiduciary duty as well as breaches of the Plan.


 13
   Insurance premiums were paid on behalf of four entities (American Home Patient, Inc., Cornerstone Healthcare, Nex-Tech Aerospace, and Trussway Holdings)
 in 2011 and 2012; no payment to any of the entities was the same as to any other entity. RC355, Schedule 6.1. As to the portfolio company advisory fees, various
 fees were paid over varying years between 2011 and 2016 by six different portfolio entities to Barrier or NexBank as advisors; with the exception of two years for
 one of the entities, each payment of an advisory fee was of a different amount.

 14
      As set forth in the Expert Report of Basil Imburgia, RC408, Highland engaged in the following transactions:
         •     It sold 32,500 shares of Grayson CLO at a settlement amounts of $560 and $570 per share, of which $25,500 were sold to NexPoint, with a reported
               value of $570 per share, Table 19;
         •     It sold 32,250 shares of Eastland CLO at settlement amounts of $611.40 and $613.90, of which 25,250 were sold to NexPoint, with a reported value of
               $730 and $670, Table 20;


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                 3.     Highland contends that the sales in question were not cross trades but were rather
                 “market-bearing transactions” between Highland and an independent financial institution,
                 which then sold to a Highland affiliate. But this contention is belied by the fact that the
                 transactions bore all of the hallmarks of pre-arranged trades, designed to avoid obtaining the
                 consent of the Committee. See JX-30 at 3 (“Trading assets between two affiliated accounts
                 through a broker may be considered a Cross Trade…”). Indeed, Mr. Dondero, the Chief
                 Executive Officer, is heard on a tape made by then-Chief Portfolio Manager Joshua Terry,
                 suggesting “run[ning a CLO trade] through some broker,” RC-263A. By using a middleman
                 between itself and its affiliate, Highland sought to avoid the description of a “cross trade,”
                 but the reality is that the transactions were effectively cross trades and we will treat them as
                 such.

                 4.      That said, however, the substance of the transaction, arguably, benefitted the
                 Committee, because assets of the Fund were liquidated, which was a principal goal of the
                 Plan and Scheme. Yet the problem with these transactions is that Highland had a perfectly
                 clear path to effectuate these trades without any question being raised as to their bona fides –
                 it could have sought the consent of the Committee under §2.06, which consent could not be
                 unreasonably withheld under §2.07, HC-300. We find that Highland’s failure to do so
                 constitutes a breach of the Plan.

                 5.      We are left with the question of whether Highland’s roundabout trading method
                 caused any damage to the Fund. It appears Highland sold the CLOs to a broker for one value
                 and then the broker turned around and sold the CLOs to the Highland affiliate for a higher
                 value. Thus, the Fund received less than it was entitled to receive had the transaction been
                 done without the middleman, and the damage to the Fund is the difference in the two
                 values. While the Committee’s expert Basil Imburgia did not use that methodology to
                 calculate the damages associated with these trades, the information on the price paid to the
                 funds and the price paid to the broker is set forth in the expert report of Highland’s expert,
                 Mr. Snow, HC-526 at 41. The Committee contends that the difference is approximately
                 $450,000. The Committee is entitled to judgment for the amount of the difference with
                 interest from the date of the sale from the funds, Since none of the experts did the
                 appropriate calculation, as with other items, we leave it for the parties to confer and agree
                 upon the total amount of damages including 9% interest and we will leave the record open to
                 resolve that amount.




   •   It sold 31,000 shares of Greenbriar at settlement amounts of $713.60 and $665.00, of which all of the shares were sold to NexPoint at reported values
       of $730.00 and $670.00, Table 21; and
   •   It sold 31,500 shares of Stratford at settlement amounts of $661.70 and $660.00, of which 25,500 were sold to NexPoint at reported values of $724.49
       and $665.00, Schedule 22.


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          L.       Failure to Settle Credit Suisse Trades/Litigation

                   1.      The Committee contends that Highland committed willful misconduct, thereby
                   breaching its fiduciary duty to the Fund and its investors, both by failing to settle two trades
                   Highland made on behalf of the Fund in September 2008 with Credit Suisse (relating to the
                   purchase from Credit Suisse of syndicated loans in the amount of $23.5/9 for properties
                   known as Goldfield and Westgate) and by failing to settle the litigation initiated by Credit
                   Suisse in July 2013 regarding the same trades. The Committee asserts that, despite clear legal
                   authority requiring that Highland settle the trades and the subsequent litigation, Highland
                   refused to do so because it sought to use its refusal to settle the trades and litigation as
                   leverage against Credit Suisse with respect to other claims not involving the Fund that
                   Highland had against Credit Suisse. Thus, the Committee contends Highland put its own
                   interests ahead of the interests of the Fund. Consequently, the Committee further alleges,
                   that by its delaying the settlement of the trades and then of the litigation, Highland caused
                   the Fund to incur seven-plus years of statutory interest that could have been avoided but
                   which the Fund had to pay in January 2016 when the trades and the litigation were
                   ultimately settled.

                   2.      Highland poses multiple defenses to the Committee contentions. First, Highland
                   argues that the Committee’s claim first accrued in 2008 when it allegedly failed to settle the
                   trades and therefore was released by Section 7.01 of the Plan,15 releasing Highland from all
                   claims, known or unknown, “from the beginning of the world to the Effective Date” of the
                   Plan in August 2011. Second, Highland contends that even if this claim was resurrected after
                   the effective date of the Plan and Scheme, said claim would have arisen in 2011 and was thus
                   barred by the three years statute of limitations for breach of fiduciary duty claims. Third,
                   Highland argues that it did not breach its fiduciary duty as it was only exercising its
                   legitimate business judgment in not settling the trades or the litigation and that the
                   Committee has otherwise failed to show that Highland committed willful misconduct in this
                   regard. Finally, Highland asserts that if the Tribunal finds that it breached its fiduciary duty,
                   any damages that might be owing should be at a reduced amount from what the Committee
                   claims.



 15
    Section 7.01 provides, as follows: “Section7.01. Upon the Effective Date, each of the Consenting Redeemers, for themselves and on
 behalf of any of their respective officers, directors, shareholders, partners, members, employees, affiliates, investors, agents and
 representatives and any other person or entity entitled to assert a Claim (defined below) by, through, under, or on behalf of any
 Consenting Redeemer, hereby releases each of the HCM-Related Parties and each of the other Consenting Redeemers, from any and
 all accounts, actions, agreements, causes of action, claims, contracts, covenants, controversies, damages, debts, demands, executions,
 expenses, judgments, liabilities, obligations, omissions, promises, representations, and fights to payment, and all other liabilities of
 every kind, nature and description whatsoever, liquidated and unliquidated, fixed and contingent, matured and unmatured, disputed
 and undisputed, legal and equitable, state and federal, secured and unsecured, accrued and unaccmed, known and unknown, choate
 and inchoate (each, a "Claim"), which each Consenting Redeemer has, may have or ever had against any or all of the HCM-Related
 Parties and the other Consenting Redeemers from the beginning of the world to the Effective Date related to each of the Crusader

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 Funds, including without limitation its administration and wind-down; provided, however, that such release shall not operate to release
 any claims arising from this Plan or based on larceny within the meaning of Section 155.05 of the New York Penal Code ("Larceny
 Claims"), provided that such exception shall not apply to Larceny Claims within the scope of knowledge of the releasing party as of
 the Effective Date. The benefit of the release in this Section 7.01, as it related to the HCM-Related Parties, is held in trust by the
 Crusader Funds for the HCM-Related Parties, and the Crusader Funds hereby assign the benefit of the release in this Section 7.01 in
 their favor.”
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           3.       With respect to the issue of the release, the Tribunal concludes that Section 7.01
           releases any claims that the Committee might have with respect to the failure by Highland to
           settle the Credit Suisse trades through the Effective Date of the Plan, but the Committee has
           not released any claims that arose after the Effective Date of the Plan. The Tribunal need not
           decide whether the continuous post-August 2011 failure to settle the trades automatically
           gives rise to new post-Effective Date claims; once Credit Suisse commenced litigation in July
           2013 and the Committee renewed its demand that Highland settle the trades and the
           litigation, and once Highland again failed to do so, a new claim arose, at least as of that point
           in time. This new claim would not be released under Section 7.01 since it arose after the
           Effective Date of the Plan. Accordingly, Tribunal views Highland’s continuous failure to
           settle the trades and litigation after July 2013 (until January 2016, and subject to the
           temporary withdrawal by the Committee of its demand that Highland settle the trades and
           litigation in September of 2013, as discussed below) as the potentially actionable conduct that
           the Tribunal will analyze below.

           4.       As to the statute of limitations issue, the Tribunal agrees with Highland that a three
           years statute of limitations applies to breach of fiduciary duty claims and therefore any
           conduct outside the three years limitations period is not actionable. The Committee filed in
           this Arbitration its breach of fiduciary claim with respect to the unsettled Credit Suisse
           trades and litigation on July 5, 2016. Consequently, given the application of the statute of
           limitations, any claim for relief for any period prior to July 5, 2013 is barred by the statute of
           limitations and the Tribunal will not consider conduct prior to this date to be actionable nor
           will it consider any claim for damages for the period prior to July 5, 2013.

           5.      The Tribunal finds that Highland committed willful misconduct, thereby breaching
           its fiduciary duty to the Fund and its investors, by failing to settle the two subject trades with
           Credit Suisse. The Tribunal finds that, whatever strategy Highland intended or whatever
           judgment calls it made, or purported to make, with respect to the settlement of these trades,
           it was under a clear legal obligation to settle the trades but failed to do so.




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           6.      Highland’s then General Counsel admitted to at least a general awareness of the legal
           obligation under the LSTA regime to settle trades promptly (and to litigate later if there is a
           dispute regarding same). Tr. 10 288:2-12, 290:13-22, 291:15-20; and there is other evidence to
           the same effect. See, e.g., JX-12 at RC00100770-771. Despite this clear legal obligation, and
           despite Committee requests that it do so, Highland refused to settle the trades in order to
           provide itself with leverage vis-a-vis Credit Suisse on another dispute. Even if, as argued by
           Highland, its prevailing on this other dispute would advantage the Fund, once the
           Committee demanded that Highland settle the trades, as it first did during the limitations
           period on August 7, 2013, Highland should have done so given both the acknowledged
           weakness in its defenses and that its purported goal in not doing so at least primarily
           advantaged itself and not the Fund (even if the Fund might have gained some marginal
           potential advantage if Highland prevailed in the other dispute). In light of the preceding,
           Highland’s refusal to settle the trades constitutes willful misconduct, thereby breaching its
           fiduciary duty to the Fund and its investors.

           7.      The Tribunal finds that the actionable willful misconduct by Highland for which
           damages will be due occurred during the period September 8, 2014 through January 14, 2016.
           The reason for the end date is clear and undisputed: on that date, Highland caused the Fund
           to pay for the trades and the interest due. As for the start date, the earliest possible start date,
           in light of the above analysis, is August 7, 2013 which is when the Committee first demanded
           during the limitations period that the trades be settled. But, in September 2013, counsel for
           the parties interacted and the Committee withdrew its demand that Highland settle the
           trades. HC-476a. The Committee argues that it was not apprised by Highland of relevant
           information at the time, and therefore the Fund should not be bound by its agent’s
           withdrawal of the demand, but the Tribunal concludes that, notwithstanding Highland’s
           failure to provide this information, the Committee’s counsel independently analyzed the
           relevant issues and the Committee is responsible for the decisions flowing from that analysis.
           On or around September 8, 2014, after the trial court entered summary judgment in favor of
           Credit Suisse in the litigation, the Committee reinstated its demand that Highland settle the
           trades; since Highland did not do so until January 14, 2016, it is, under our analysis above,
           responsible for damages accruing during the period from September 8, 2014 through January
           14, 2016.




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           8.      The Tribunal adopts the damages theory advanced by the Committee: the pre-
           judgment interest that the Fund had to pay during September 8, 2014 through January 14,
           2016, minus the gain it achieved during the same period by virtue of having the use of the
           subject $23.5 million. However, neither party presented a damages analysis consistent with
           the preceding parameter. Accordingly, the Tribunal directs that the Parties jointly confer to
           calculate an amount of damages that takes into account the following parameters: (i) the
           damages period is between September 8, 2014 and January 14 , 2016; (ii) the 9% statutory
           interest (ordered by the New York State Supreme Court in September 2014) is to be applied
           on a simple basis to the total principal amount due ($23.5 million); (iii) the amount of the
           “off-set” is to be calculated using the factor utilized by Claimant’s expert – the Treasury Yield
           Rates for the damages periods specified in (i); and (iv) 9% statutory, pre-judgment interest is
           to be applied on a simple basis to the result of the calculations in (i) – (iii) from January 14,
           2016 to the date of this Partial Final Award.

      M.   The Delay in Settling the UBS Litigation
           1.      As noted above, Highland, Crusader and Credit Strategies were parties to an action
           commenced by UBS which alleged that certain securities had been fraudulently transferred
           by Highland to the funds. As a result, the funds were enjoined from transferring the subject
           assets during the course of the litigation.

           2.     In May 2015, UBS, Highland, Crusader and Credit Strategies reached an agreement in
           principle to settle the litigation. Under the terms of that agreement Crusader was to pay UBS
           $25 million and Highland was to pay $35.75 million. A separate agreement between the
           Committee and Highland provided that, no sooner than December 30, 2016, Highland could
           recapture $33.75 million through incentive fees that could be generated through the
           liquidation of Crusader assets. RC-227.

           3.      The settlement agreement was to be finalized on May 30, 2015, but Highland refused
           to go through with the settlement because Credit Strategies would not release claims against
           Highland. Tr. 3 21:10-22:3; Tr. 3 24:16-25:6; Tr. 10 316:20-317:23. Ultimately the Committee
           negotiated a its own settlement, pursuant to which Crusader paid UBS $25 million on July 1,
           2015, and an additional amount of $30 million on December 29, 2015.

           4.     The Committee argues that, had Highland not blown up the original settlement, it
           would not have had to pay the $30 million to UBS on December 29, 2015, and it would have
           retained those funds at least until December 30, 2016, when that amount might have been
           transferred to Highland if it had earned that amount in incentive fees. The Committee,
           therefore, seeks as damages 9% interest on the $30 million from December 29, 2015 to
           December 30, 2016, which its expert calculated to be $2,041,664.




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           5.     Highland denies that it has any liability and asserts that is protected by the business
           judgment rule. It also argues that 9% interest is not appropriate. Further, Highland urges that
           the Committee’s expert did not otherwise account for the fact that Highland might have
           earned $33.75 million in incentive compensation and, therefore, there was a net benefit to
           the fund.

           6.      There is no basis for Highland’s claim that its conduct is protected by the business
           judgment rule. In deciding whether or not to settle the UBS litigation, Highland was acting
           as a fiduciary with respect to Crusader and had a fiduciary duty not to place its own interests
           above that of Crusader. As the New York Court of Appeals stated in Birnbaum v. Birnbaum,
           73 N.Y. 461, 466 (1989):“It is elemental that a fiduciary owes a duty of undivided and
           undiluted loyalty to those whose interest the fiduciary is to protect . . . . This is a sensitive
           and ‘ inflexible’ rule of fidelity, barring not only blatant self-dealing, but also requiring
           avoidance of situations in which a fiduciary’s personal interest possibly conflicts with the
           interest of those owed a fiduciary duty. (Citations omitted.)”

           7.     Thus, Highland was not free to place its own interests above that of Crusader and had
           an obligation to settle UBS’s claims against Crusader regardless of its concerns about possible
           claims against it by Credit Strategies.

           8.      There can be no question that Highland's action in refusing to settle with UBS
           resulted in Crusader being deprived the use of $30 million in cash between July 1, 2015 and
           December 30, 2016, the first day on which Highland would have been entitled to receive any
           of the incentive fees. Here, as with the Deferred Fees, it is appropriate to award interest on
           that amount at the rate of 9% to compensate Crusader for that loss.




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           9.     The problem with Highland’s claim that it might have earned an incentive fees of
           $33.75 million is that Highland offered no evidence that would suggest that its incentives
           fees would ever have reached even the $30 million amount that the Committee is willing to
           concede might have been reached. Since the original settlement agreement was negotiated at
           a time when there was no plan in place to terminate Highland as the fund manager, the
           incentive fee structure was based on events that would ultimately occur in periods after the
           Committee terminated Highland. Since neither party made any effort at the hearing to
           calculate incentive fees, it seems apparent that such a calculation was not possible. In these
           circumstances, the Committee’s assumption that Highland would have earned $30 million in
           incentive fees by December 29, 2016 is generous and there is no basis for a finding that
           Highland would have earned more than that in incentive fees.

           10.    We award Claimant as damages 9% interest on the $30 million from December 29,
           2015 to December 30, 2016, which its expert calculated to be $2,041,664.

      N.   Cornerstone

           1.      Highland Cornerstone Healthcare Group (“Cornerstone”) is a company that owns
           Long Term Acute Care (LTAC) hospitals in which the Fund owns a minority equity interest.
           At the time of the adoption of the Plan and Scheme, Highland owned or controlled 100% of
           the shares of Cornerstone. Two groups of funds, Crusader Funds and Highland Credit
           Strategies Fund (“Credit Strat”), owned more than 50% of the shares of Cornerstone.
           Between 2011 and 2013, Highland was secretly engaged in the process of valuing and,
           eventually, selling the interest held by Credit Strat in Cornerstone. In September 2013, after
           a process in which the Credit Strat Redeemer Committee was kept completely in the dark as
           to the sales process that was underway, and which was later found to be unfair to the
           investors in Credit Strat, see RC-306, Highland arranged for the purchase of Credit Strat’s
           interest by Cornerstone itself at the price of $2,956.03 per share, see JX-16. This price was
           below the most recent mark set by Highland, and below the value of between $3,424 and
           $4,434 per share that Highland’s investment bankers, Houlihan Lokey, found to be fair for
           the purchase of the minority interest, see HC-431.




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           2.      Following the purchase of the Credit Strat interest, the Crusader Funds owned 41.8%
           of Cornerstone, see RC-138 at 7. The Crusader Funds learned of the sale and made known
           their interest to Highland in having their interest in Cornerstone sold. But when Highland
           offered to buy their interest for the same price of $2,956.03 per share as the Credit Strat
           interest, the Committee engaged Ernst & Young (“E&Y”) as its advisor to analyze the offer
           and prepare a response. E&Y prepared two analyses of the value of the Cornerstone asset.
           The first, HC-577, found that, as of the fall of 2013, “Cornerstone’s offer to purchase
           Crusader’s share for $43.8 mm is below Crusader’s current carrying value and at the low end
           of the range of values developed in this Report” and that “based on information provided and
           reviewed to date it would appear that the lower end of the range is more reasonable to
           expect that (sic) the higher end of the range,” Id. at 5.

           3.     The Committee then requested that E&Y prepare a supplemental report, and, in
           January 2014, E&Y rendered a second report, finding that Cornerstone underperformed
           expectations for 2013 and that the changes occurring in the healthcare field were creating
           uncertainty in the industry in which Cornerstone operated. HC-577 at 19. E&Y reduced its
           range to $44 million to $63 million, by imposing a discount from its prior range as of year-
           end 2013 by 10% to 25%. In discussions with counsel to the Committee, E&Y suggested
           countering with a purchase price in the range of $50 million to $54 million “for negotiation
           purposes.” Id.

           4.      Thereafter, on March 28, 2014, after the Committee had considered its options, it
           made a counter-offer within the range suggested by E&Y at $52,342,188, or $3,529 per share,
           plus a 50% recapture provision in the event of a sale within three years. JX-18. The counter-
           offer was at the 2013 year-end market value, as calculated by Highland. Id. Highland never
           responded to this counter-offer despite repeated overtures to Highland by the Committee,
           and despite the desire of the Claimant Redeemer Committee and the mandate of the Scheme
           and Plan to liquidate all of the assets of the Crusader Fund, the interest in Cornerstone held
           by the Crusader Funds has not been sold.

           5.     Claimant contends that the failure of Highland, during the period it was the
           investment manager of the Funds, to make any good faith effort to sell the Funds’ shares in
           Cornerstone, constituted a breach of fiduciary duty.

           6.      As part of its claim of breach of fiduciary duty, the Committee urges that Highland is
           collaterally estopped from denying the findings of the arbitration tribunal in the arbitration
           brought by the Redeemer Committee of Credit Strat arbitration tribunal regarding, inter alia,
           the Cornerstone transaction. RC-306 (4/6/16 Credit Strategies Fund Final Award).



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           7.     In particular, as it bears on this dispute, the Committee contends that Highland is
           estopped from denying the following findings: (1) Highland controlled Cornerstone; (2) the
           per share price at which Highland sold Credit Strat’s interest was unfair; and (3) a price of
           $3,929 per share was a fair price, based upon the Houlihan Lokey valuation.

           8.      Highland contends that the Credit Strat Tribunal’s findings do not bind Highland in
           this proceeding, because the two arbitration proceedings deal with “fundamentally different”
           issues, such that collateral estoppel does not apply.

           9.      First, Highland urges that the Credit Strat Tribunal was dealing with the ramifications
           of a consummated sale, where it found that Highland controlled both Cornerstone’s offer and
           Credit Strat’s acceptance. HC-220 at 8, 30, whereas in this proceeding, the evidence is that
           Cornerstone made an offer to the Committee, but Highland had no role in the Crusader
           Fund’s evaluation of or counter to that offer and no sale occurred.

           10.    Secondly, Highland points out that in Credit Strat, the retention of Houlihan Lokey
           and the entire process that Houlihan Lokey engaged in was a secret that the Credit Strat
           Committee was unaware of, whereas, in this proceeding, the Houlihan report as well as other
           financial information was made available to the Crusader Committee, HC-577 at 577.0002,
           Tr. Day 5 at 114:12-117:18 (Zambie).

           11.     The doctrine of collateral estoppel requires that an issue being litigated in the second
           case be the same as was fully litigated by the same party in the first action. Fuchsberg &
           Fuchsberg v. Galizia, 300 F.3d 105, 109 (2d Cir. 2002) (“[C]ollateral estoppel prevents a party
           from relitigating an issue decided against that party in a prior adjudication. It may be
           invoked to preclude a party from raising an issue (1) identical to an issue already decided (2)
           in a previous proceeding in which that party had a full and fair opportunity to litigate.”)
           (internal quotations and citations omitted).

           12.    Although there are differences in the way in which the sale process took place, we do
           not find that such differences obscure the fact that some issues are substantially identical in
           both proceedings.




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           13.    The principal finding that we think is binding on Highland in this proceeding is that
           the price of $3,929 per share, based upon Houlihan Lokey’s valuation, was a fair price.
           Claimant also argues that Respondent is bound by the finding that the offering price
           Highland made for the Credit Strat position, which was the same price as offered to the
           Redeemers Committee here, was unfair. But we think that finding would fly in the face of
           Claimant’s own adviser, E&Y, who found that such a price was at the low end of a fair range.
           Accordingly, we do not think it appropriate to adopt such a finding as binding in this
           proceeding.

           14.     Highland also contends that, with respect to the possible sale of the Cornerstone
           interest, it was not in a fiduciary relationship with the Committee, which was relying on EY
           for negotiating assistance, not on Highland, as Highland was sitting opposite to the
           Committee in the negotiation. Tr. Day 5 at 116:10-117:18 (Zambie).

           15.    While the Committee was not relying on Highland for financial advice or guidance
           with respect to Cornerstone in the period between the Fall of 2013, when an offer of
           $2,956.03 per share was made, and the early Spring of 2014, when the counter-proposal were
           made, the Committee did rely on Highland, in its role as investment manager, both before
           and after those dates, to liquidate the Fund as rapidly as possible.

           16.     But by Highland’s choosing to have the Crusader Funds, along with several other
           entities controlled by Highland, invest in Cornerstone, Highland voluntarily placed itself in a
           conflict position: it owed fiduciary obligations to the Crusader Funds to maximize the
           liquidation process, while being the control person of Cornerstone whose own interests were
           to have any purchase price be as low as possible. As investment manager, Highland was
           obligated to be fully responsible to the Committee, but could not do so as long as it also
           continued to play an active role as controlling party of Cornerstone with respect to the
           Committee’s desire to sell.

           17.    The hearing record is that, other than making the offer in September 2013, Highland
           took no steps to market or sell the Fund’s interest in Cornerstone. Tr. 1 347:16-349:2; 364:12-
           22. At meetings held with representatives of the Committee, the Committee asked about
           plans to sell assets and Highland never discussed, or appeared to have a plan by which it
           proposed to sell the Cornerstone asset. Tr. 1 349:4-22; 365:13-17; Tr. 4 55:14-20; RC-317 at
           2(“Mr. Jameson noted that for the remainder of the portfolio, formal strategies for disposition
           are not in place.”). When Committee representatives met periodically with Jim Dondero, the
           CEO, he made it clear that he ran the sales operation completely and did not wish to be
           questioned or have the portfolio managers questioned as to the timing of any particular sale.




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           18.     We find that Highland had a fiduciary duty not to place its own interests above that
           of Crusader, Birnbaum v. Birnbaum, 73 N.Y. at 466 (1989), but rather to subordinate its own
           economic interests behind its fiduciary obligation to the Crusader Funds. Guth v. Loft, 5
           A.2d 503, 510 (Del. 1939) (“The rule that requires an undivided and unselfish loyalty to the
           corporation demands that there shall be no conflict between duty and self-interest.”);
           Weinberger v. UOP, Inc., 457 A.2d 701, 710 (Del.1983) (“There is no dilution of [fiduciary]
           obligation where one holds dual or multiple directorships.”); see also Carsanaro v.
           Bloodhound Technologies, Inc., 65 A.3d 618 (Del. 2013). Highland’s failure to subordinate
           its own interests to those of the Committee led directly to its failure to engage in a fair
           negotiating process with the Committee. By failing to do so, Highland breached its fiduciary
           duty to the Fund. Caruso v. Metex Corp., 1992 WL 237299, at *16 (E.D.N.Y. July 30, 1992),
           People ex rel. Spitzer v. Grasso, 50 A.D.3d 535, 546 (1st Dep’t 2008). That breach of fiduciary
           duty was a continuing offense through the period of time that Highland was the investment
           manager of the Crusader Fund, as Highland never itself took, or authorized Cornerstone to
           take, any action in response to the counter-offer that was made in February 2014.

           19.     Highland argues that the Committee must overcome the business judgment rule that
           “the defendant [fiduciaries] have acted on an informed basis and in the honest belief they
           acted in the best interest of the [client],” citing CVC Claims Litig. LLC v. Citicorp Venture
           Capital Ltd., No. 03 CIV. 7936 (DAB), 2007 WL 2915181, at *4 (S.D.N.Y. Oct. 4, 2007), in
           turn citing Aronson v. Lewis, 473 A.2d 805, 812 (Del.1984)(“While each director must meet
           this obligation, a decision made by the board of directors will be presumed, under the
           business judgment rule, to have been made ‘on an informed basis, in good faith, and in the
           honest belief that the action taken was in the best interest of the company,’ unless the
           plaintiff shows that the presumption does not apply.”).

           20.     But here, we find that Highland’s decisions regarding the purchase of the Cornerstone
           shares from the Crusader Funds — from the offer to purchase, the ignoring of the
           counteroffer, and the failure to engage in or authorize a negotiation process — were made
           with the willful intent to benefit itself and not the Crusader Funds investors. See JX-19; Tr. 1
           379:17-380:8. The Business Judgment Rule does not protect Highland or its officers from
           scrutiny for alleged breaches of fiduciary duty under these circumstances.




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           21.      The question then is what is the appropriate price at which the sale should take
           place. “[I]n determining whether a fiduciary has acted prudently, a court may examine a
           fiduciary’s conduct throughout the entire period during which the investment at issue was
           held. The court may then determine, within that period, the ‘reasonable time’ within which
           divesture of the imprudently held investment should have occurred. What constitutes a
           reasonable time will vary from case to case and is not fixed or arbitrary. The test remains ‘the
           diligence and prudence of prudent and intelligent [persons] in the management of their own
           affairs’ (id., at 511 [citations omitted]).” Matter of Estate of Janes, 90 N.Y.2d 4, 54 (1997);
           Public Service Co. of Colorado v. Chase Manhattan Bank, N.A., 577 F.Supp. 92, 107
           (S.D.N.Y.1983) (Lumbard, CJ, sitting by designation)(“where there is no sale, it is impossible
           to fix exactly the moment by which the loan should have been sold or the amount that could
           have been obtained; “[p]robably the only rule is that the court will use its common sense and
           determine what under all the circumstances it is fair to say that the trustee ought to have
           received if he had done his duty in selling the property within a reasonable time,” (quoting
           Scott on Trusts)).

           22.     To satisfy its obligation under the Plan to liquidate the Fund’s assets as rapidly and as
           fairly as possible, Highland did not have “to cause Cornerstone to purchase the Fund’s
           Cornerstone shares for a specific price and at the specific time demanded by the
           Committee…,” Highland Post-Hearing Brief at 11, but it did have a duty to place the Funds’
           interest above its own and to obtain the best price possible for the Funds’ Cornerstone
           interest. Thus, when it decided it wished to make an offer to purchase the Funds’
           Cornerstone shares, it was obligated to do so at the fair market value and not to attempt
           to take advantage of the fact that it had placed the funds in a position where it was the only
           available buyer.

           23.     Highland argues that it makes no sense to assess damages based upon a hypothetical
           sale of the Cornerstone asset, because, first, since the shares have never been sold, there is no
           realized loss; and, second, “other than Cornerstone’s $43.8 million offer, there is no evidence
           of any other willing buyer for Cornerstone’s assets at any price.”

           24.     We reject the first argument because it ignores what we have found to be the breach
           of fiduciary duty —the obligation to pursue and consummate a sale at a fair and reasonable
           price. The Fund was damaged by reason of Highland’s failure to fulfill that obligation.




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             25.     As to the second argument, Highland defeats its own argument by pointing out that,
             in the real world, there is only Cornerstone available as a buyer. But, because of Highland’s
             own financial objectives, there has been no indication since April 2014 when it failed to
             authorize a counteroffer that Highland was interested in directing Cornerstone, which it
             controlled, to make an offer to purchase the shares at anything other than a bargain
             basement and unfair price.

             26.     Using our equitable powers, we believe that a fair price can be derived by using the
             fair market value of the shares of $3,929 per share, based upon Houlihan’s valuation prepared
             on July 15, 2013, adjusted downward by 10-25% by the year-end discount caused by several
             factors cited by E&Y. The average of that discount results in a fair market valuation of
             $3,241.43, which amount is what we find should have been offered to pay for the
             Cornerstone shares.

             27.     We order that Highland pay to the Committee $3,241.43 per share, or $48,070,407,
             and order that the Committee simultaneously cause the Crusader Fund to surrender its
             interest in Cornerstone to Highland.

             28.     With respect to an award of pre-judgment interest, “[a]lthough an action for breach
             of fiduciary duty is generally considered of an equitable nature, ‘[e]ven on [such] a claim
             with equitable underpinnings ... prejudgment interest [is] mandatory where the only relief
             sought was compensatory damages.’ Lewis v. S.L. & E., Inc. 831 F.2d 37, 39 (2d Cir.1987)
             (citing Spector v. Mermelstein, 485 F.2d 474, 481 (2d Cir.1973))(emphasis added).

             29.     Regarding the rate of pre-judgment interest to be applied, Claimant argues for the
             application of New York’s statutory rate of interest of 9% as most appropriate. Under CPLR
             §5001(a), “in an action of an equitable nature, interest and the rate and date from which it
             shall be computed shall be in the court's discretion.” See 212 Inv. Corp. v. Kaplan, 16 Misc.
             3d 1125(A), at *9 (Sup. Ct. N.Y. Cnty. 2007); Panix Prods., Ltd v. Lewis, id; Summa Corp. v.
             Trans World Airlines, 540 A.2d 403, 409 (Del. 1988).

             30.     Under CPLR §5004, New York applies pre-judgment interest at 9%, simple annual
             interest. Under the circumstances here, where the breach of fiduciary duty deprived the
             investors of the Crusader Funds of a significant distribution and partial return of their equity,
             we exercise our “broad discretion, subject to principles of fairness, in fixing the rate to be
             applied,” Summa Corp. v. Trans World Airlines, Inc., id., and we award interest at the
             statutory rate of 9%, simple annual interest, pursuant to New York law, from April 15, 2014,
             through the date of this Partial Final Award. We pick this date as it is the date by which we
             believe Highland and/or Cornerstone (as controlled by Highland) should have responded to
             the Committee offer.

 IV.   The Return of the Deferred Fees

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      A.      Under §§2.02 and 6.02 of the Plan, if Highland distributed $1.7 billion within 43 months of
      the Plan’s Effective Date, Highland could obtain $10 million in Deferred Fees that had been placed
      in the special account at the outset to incentivize Highland’s rapid liquidation. There is no question
      that Highland did not meet that goal by the 43rd month and, thus, in Count Three of its Amended
      Demand, the Committee seeks the immediate return to the Fund of those proceeds by a declaration
      that the Fund should distribute the right to receive payment in respect of the funds in the Deferred
      Fee Account to the Consenting Compulsory Redeemers.

      B.     Highland objects on the ground that the UBS TRO eliminated the 47-month schedule
      applicable to the Deferred Fee Account, invoking the Impossibility Doctrine, discussed in detail
      above, and argues that, upon the eventual complete liquidation of the Fund, it will be entitled to the
      $10 million in the Deferred Fee Account.

      C.      For reasons set forth earlier, we reject the argument that, under the Impossibility Doctrine,
      Highland was relieved of the requirement that it achieve complete liquidation of the Fund within
      43 months, and, thus, is entitled to the $10 million in Deferred Fees upon complete liquidation.
      Highland had the opportunity to achieve the complete liquidation despite the duration of the UBS
      TRO, but chose, for its own reasons, not to do so. The Impossibility Doctrine does not provide a
      basis for granting Highland affirmative relief.

      D.     We order the return to the Crusader Fund the $10 million in the Deferred Fee Account.

 V.   Counterclaims
      A.      Respondent has brought two principal counterclaims: first, it seeks to recover the remainder
      of Deferred Fees to which it says it is entitled now because Claimant should have completed the
      complete liquidation of the Fund’s assets by December 31, 2017, at the latest; and, second, it seeks
      damages against the Committee for breach of the Plan and of its fiduciary duties to Highland by
      failing to oversee A&M’s liquidation of Fund assets and for approving, without adequate, if any,
      scrutiny, A&M’s fees, said to be exorbitant.

      B.      As to the breach of fiduciary duty claim, the fiduciary duty relation is said to arise from
      Highland’s status as an investor in the Crusader Funds. Highland’s Post-Hearing Brief at at 3-5.
      However, we have previously stricken those portions of Highland’s Amended Counterclaim that
      alleged it was suing as an investor. Panel Order, April 1, 2018, at 4. Furthermore, even assuming
      that, as an investor, Highland had standing to bring a claim for breach of fiduciary duty, as stated
      below, we find that no breach of duty has been proved with respect to any of the allegations in
      Respondent’s Amended Counterclaim.




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      C.     Specifically, we have examined the record thoroughly and, aside from the testimony of
      Highland’s expert, James Finkel, and its former portfolio manager, Mr. Jameson, there is insufficient
      evidence of a purposeful and wrongful delay in liquidation or a failure by the Committee to oversee
      and scrutinize A&M’s performance, nor any activity of A&M that the Committee aided and abetted
      that was proved wrongful.

      D.     Mr. Finkel had a distinguished thirty-plus year career in capital markets, investment
      banking, and investment advisory work, including as a liquidator of the assets of alternative
      investment funds. But his opinion that Highland or any reasonable manager or liquidator would
      have completed liquidation by the end of 2017, at the latest, was not based on anything more than
      his unverified judgment, and not on a close examination of the facts in this record. For example, he
      conceded that, in reaching his opinions, he didn’t consider the amount of information A&M
      provided to investors, didn’t review A&M’s time records or evaluate the quality of the work
      performed by A&M, and didn’t consider the consequences of the lack of cooperation of Highland
      with A&M, among other critical deficiencies. Tr.10 367:10-372:3. Similarly, his opinion that,
      because of what he regarded as a flawed compensation structure, A&M’s primary focus was on the
      time it spent on projects, rather than on results achieved, was based on one assumption that time-
      based work is, inevitably, less likely to be focused, an assumption that we reject as a sound basis of
      criticism of A&M’s contribution. We find that Mr. Finkel’s opinions were not soundly based and
      we reject them.




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      E.       Mr. Jameson worked for Highland for almost seven years as co-head of Private Equity,
      responsible for sourcing and executing private equity investments and monetizing existing portfolio
      companies. He testified that he was aware of the UBS TRO and had been advised that he could not
      sell assets during its pendency. He was aware that Cornerstone did not comply with requests by
      A&M for information but did not think he had the power to direct Cornerstone to do so Tr 10
      28:18-30:3. He also testified that, had Highland remained as its investment manager, it would have
      sold the Cornerstone asset by December 31, 2017, and that Highland Capital’s purchase of
      Cornerstone from the Crusader Fund at a negotiated price around the mark set by Highland would
      have been logical. Tr. 10 30:4-35:23. He also testified, in response to questioning by the Tribunal,
      that little, if anything, would have changed in Highland’s ability to negotiate a sale with the
      Committee when it was replaced by A&M as its investment manager, Tr. 10 119:8-121:23. On
      balance, despite Mr. Jameson’s on-the-ground role as portfolio manager, his testimony did not
      support the allegations of Highland in its counterclaims; if anything, his intimate understanding of
      the Cornerstone asset and how Highland controlled the process by which Cornerstone was or wasn’t
      being marketed supported the Committee’s contentions that Highland could have negotiated a fair
      disposition of the Cornerstone asset had it chosen to do so.

      F.      As to an alleged delay in the liquidation of the Fund’s assets, the weight of the credible
      evidence is that Highland, not A&M, was responsible for any delay in liquidating the balance of the
      assets in the Crusader Fund after Highland was discharged and A&M was retained.

             1.      We note that we have previously found that Highland, after refusing to respond to
             numerous requests by the Committee for books and records, should make a thorough search
             of its books and records and produce all non-privileged documents in its possession, custody,
             or control on certain relevant topics. Thus, we rejected several arguments put up by
             Highland to prevent the Committee and A&M from gaining access to critical books and
             records. Order and Partial Award, April 21, 2017.




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              2.      But, even when ordered to do so, Highland again refused to produce documents on at
              least two other occasions, requiring additional motions addressed to this Tribunal, Order,
              June 20, 2017; Order, October 21, 2017.

              3.    In addition, there was unrebutted testimony that Highland produced “hundreds of
              thousands” of documents in single-page PDF format, requiring the better part of three or
              more months of A&M’s time to correlate and organize. Tr. 6 25:4-19.

              4.      By contrast, other than Mr. Finkel’s testimony, there was little or no evidence of
              A&M’s procrastinating or proceeding with deliberate slowness or that the Committee failed
              in its oversight of A&M.

              5.      We have considered all of the other factual and legal arguments made by Highland in
              support of its counterclaims and conclude that Highland is not entitled to recover the
              remaining Deferred Fees being held in the Fund’s cash account and that the Committee did
              not breach Sections 2.02 of the Plan and 1.5.2 of the Scheme, the covenant of good faith and
              fair dealing, or its fiduciary duties to Highland and other investors. We dismiss Highland’s
              counterclaims in their entirety.

 VI.   Attorneys’ Fees and Other Costs

       A.      Both parties have requested attorneys’ fees relating to all claims asserted in the Amended
       Demand, Highland’s Answer, Highland’s Amended Counterclaims, and Claimant’s Answer to the
       Counterclaims. Am. Dem. at 53-54; Highland Answer, October 16, 2016, at 21-22; Highland Am.
       Counterclaim, April 15, 2018; Committee Answer to Counterclaims. Under AAA Commercial
       Arbitration Rules, Rule 47(d)(ii), those mutual demands for attorneys’ fees submitted the issue to
       arbitration and gave this Panel the authority to award attorneys’ fees, in its discretion. AAA Rule
       47(d)(ii). “[M]utual demands for counsel fees in an arbitration proceeding constitute, in effect, an
       agreement to submit the issue to arbitration, with the resultant award being valid and enforceable.”
       R.F. Lafferty & Co., Inc. v. Winter, 161 A.D.3d 535, 536 (1st Dep’t 2018) (internal quotation marks
       and citations omitted).

       B.      The Committee urges that an award of attorneys’ fees to it is justified by Highland’s having
       “acted in bad faith, vexatiously, wantonly, or for oppressive reasons,” InterChem 59 Asia 2000 Pte.
       Ltd. v. Oceana Petrochem. AG, 373 F. Supp. 2d 340, 355 (S.D.N.Y. 2005) (citation omitted), and that
       the record shows numerous examples of Highland acting in bad faith.




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        C.     Highland acknowledges the Tribunal’s discretion to order an award of attorneys’ fees but
        opposes an imposition of attorneys’ fees here. First, Highland argues that denying the Committee’s
        request for attorneys’ fees would be consistent with Section 9.02 of the Plan which provides that
        “each of the Crusader Funds retains obligations it has to pay . . . legal fees.” HC-300 at 86. But this
        section of the Plan does not deal with the issue of fee-shifting being ordered by an arbitral tribunal.
        Nor, given Rule 47(d)(ii), would an order of this Tribunal shifting the responsibility of fees from one
        party to another be contrary to the so-called American rule, as both parties have sought this relief
        which is authorized under the prevailing rules of this Tribunal.

        D.      Second, Highland urges that the only basis upon which the Committee is seeking an award is
        that Highland allegedly engaged in bad faith and vexatious conduct, citing only InterChem Asia
        2000 Pte. Ltd. v. Oceana Petrochem. AG, 373 F. Supp. 2d 340, 355 (S.D.N.Y. 2005). Highland points
        out that the Court in InterChem Asia justified an arbitrator’s imposition of an award of attorneys’
        fees because of one party’s “bad faith” conduct during the arbitration, principally concerning
        discovery issues. Here, the Committee cites seven examples of alleged bad faith, but only one dealt
        with such conduct during the arbitration, “failing to provide the Committee with the books and
        records of the Fund, resulting in an extensive discovery process, producing records as single-paged
        TIFs, and resulting in a Panel ruling against them,” citing the Tribunal’s Panel Opinion and Final
        Partial Award, dated April 17, 2017.

        E.      We are exercising our discretion to grant Claimant’s request for attorneys’ fees and costs and
        to deny Respondent’s request for the same relief. We do not base our award on any concern of bad
        faith or oppressive conduct by Highland’s able trial counsel, who acted professionally throughout
        these proceedings. However, with respect to each of the claims on which we have determined that
        the Committee is entitled to prevail, we have noted above the many occasions where, during the
        time it was investment manager and thereafter, Highland engaged in conduct that breached the
        Plan, breached fiduciary duties, involved secrecy, misrepresentations, and false statements by the
        most senior executives, and constituted willful misconduct. Furthermore, large portions of the
        defense set forth by Highland’s witnesses were unworthy of belief and reflect the fact that Highland
        knew that it had no legitimate defense to many of the Committee’s claims. Accordingly, in our
        discretion, based on the foregoing, we award Claimant its legal fees and costs for the litigation of
        this arbitration.

 VII.   CONCLUSION AND AWARD

        A.      With respect to the claims below for which we find liability and direct the payment of
        damages and interest, if the Parties are not able to agree on the amount of damages or interest, we
        direct them to submit simultaneous briefs to the Panel on the issues within thirty (30) days of the
        date of this Partial Final Award; there will be no reply briefs unless otherwise directed.

        B.     We find for Claimant, Redeemers Committee of the Highland Crusader Fund, on the breach
        of contract claims as follows:


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                                                                                               Appx. 00458
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           1.      The taking of the Deferred Fees: We order that, within twenty (20) days of the date of
           this Partial Final Award, Respondent, Highland Capital Management, pay to the Claimant
           the Deferred Fees in the amount of $33,313,000, with statutory interest of 9%, calculated on
           a simple basis, from the dates of taking in January and April 2016 through the date of this
           Partial Final Award.

           2.      The payment of Distribution Fees: As found above, with respect to each of the
           following categories, we find that the Respondent is liable for damages in the amount set
           forth in the Expert Report of Claimant’s damages expert, Basil Imburgia, $14,452,275, plus
           9% interest, calculated on a simple basis, from the respective dates such Fees were taken:

                  a)     The Distribution Fees attributable to the payment of Deferred Fees;

                  b)     The Distribution Fee attributable to the amounts reserved in the Redeemer
                  Trust Account;

                  c)     The Distribution Fee attributable to the amounts paid in settlement of the
                  Barclays claims;

                  d)     The Distribution Fee attributable to the value of the LP interests and amounts
                  transferred to Eames;

                  e)     The Distribution Fees attributable to the amount of margin borrowings; and

                  f)      The Distribution Fees attributable to the cumulative nature of the calculation,
                  as discussed above.




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                                                                                          Appx. 00459
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      C.      We find for Claimant, Redeemers Committee of the Highland Crusader Fund, on the breach
      of fiduciary duty claims as follows:

             1.     Engaging in related party transactions without Redeemer Committee approval:

             2.     Purchase of Plan claims without Redeemer Committee approval: Within twenty (20)
             days of the date of this Partial Final Award, we order Respondent, Highland Capital
             Management, to transfer the 28 Plan or Scheme Claims to the Redeemer Committee, to pay
             to the Committee whatever financial benefits Highland received from the 28 transactions,
             less what Highland paid for the Plan Claims, plus interest at the rate of 9%, from the date of
             each purchase, calculated on a simple basis;

             3.      Sale of CLO interests - The Committee is entitled to judgment for the amount of the
             difference between the sale and repurchase prices with interest from the date of the sale
             from the funds. We direct the Parties promptly to confer and agree upon the total amount of
             damages including 9% interest, calculated on a simple basis; if the Parties are not able to
             agree on the amount of damages, we direct the Parties to submit briefs to the Panel on the
             issues within thirty (30) days of the date of this Partial Final Award;

             4.      Failure to settle Credit Suisse claims: We find for Claimant, Redeemers Committee of
             the Highland Crusader Fund, on this claim and direct the Parties promptly to confer to
             calculate an amount of damages that takes into account the parameters set forth in the body
             of this Award; if the Parties are not able to agree on the amount of damages, we direct the
             Parties to submit briefs to the Panel on the issues within thirty (30) days of the date of this
             Partial Final Award;

             5.      The UBS litigation: We find in favor of Claimant, Redeemers Committee of the
             Highland Crusader Fund, and award damages in the amount of 9% simple interest on $30
             million from December 29, 2015 to December 30, 2016, which shall be paid to the Redeemer
             Committee by Highland Capital Management within twenty (20) days of the date of this
             Partial Final Award; and

             6.     The Cornerstone Asset: We find in favor of Claimant and direct Highland Capital
             Management, within twenty (20) days of the date of this Partial Final Award, to pay the
             Redeemer Committee the amount of $48,070,407, plus interest at 9%, on simple basis, in
             return for which the Fund will transfer title to the shares to Highland.


      D.      We grant Claimant’s request for a declaratory judgment, seeking the immediate distribution
      of the Deferred Fee Account, and order the payment of the $10 million in the Account to the
      Committee for disbursal to the Consenting Compulsory Redeemers within twenty (20) days of the
      date of this Partial Final Award.
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      E.     We find against Respondent on its counterclaim and dismiss the counterclaim with
      prejudice.

      F.     We grant Claimant’s request for reasonable attorneys’ fees and costs and deny Respondent’s
      request for an award of attorneys’ fees and costs. With respect to the amount of fees and expenses
      that Claimant seeks, the parties should promptly confer to determine whether they can agree on an
      amount. If the parties can not agree, Claimant shall file an affidavit or petition setting out its claim
      with appropriate documentation within fifteen (15) days of the date of this Award, unless counsel
      agree otherwise. Respondent shall respond within fifteen (15) days thereafter, unless counsel agree
      otherwise. There will be no reply opportunity absent leave of the Tribunal.

      G.      We will leave the hearing open until all issues set forth above have been agreed upon by the
      Parties or decided by the Tribunal.




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Date: March           JK=>




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We hereby certify that, for the purposes of Article l of the New York Convention of Z<=>, on t he Recognition
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Date: MarchG MNO<




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              day of MARCH, OPl M, before me personally came and appeared Oavid M. Brodsky, to
   me known and known to me to be the individual described in and wha executed the foregoing
   instru m ent and he ac know ledged to m e that he executed t he sa m e .




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            Notary Public, State of New York
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  Stat e o f F L O R I D A




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  C ou n ty of L E E                                   )




  I , JOHN S. MARTIN, JR.,, do hereby affi rm upon rny oath as Arbitrator that I am the individual described
  i n an d w ho executed th i s i n str um ent, w h i ch i s our Pan i al Fi n al A w ar d.




  D at e M ar ch J , KL l M




  St at e o f F l o r i d a




 C ou n ty of L ee




 On this Jth day of MARCH, KLNM>before me personally came and appeared John S. Martin, Jr^,, to me
 known and known to me to be the individual described in and who executed the foregoing instrument and
 h e ack now l edged to m e th at h e ex ecu ted th e sam e.




 N ot ar y P u bl i c




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C ou n t y of N E W Y O R K                                       )




I , M i chael D . Y oung, do hereby affirm upon my oath as A rbitrator that I am the individual described in and
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 On this                    day of MARCH, MNOP, before me personally came and appeared Michael D. YourLg, to me
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